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                                                              [PUBLISH]

                                     In the

                    United States Court of Appeals
                            For the Eleventh Circuit

                             ____________________

                                  No. 21-14098-JJ
                              ___________________


           STATE OF FLORIDA,
                                                       Plaintiff-Appellant,
           versus
           DEPARTMENT OF HEALTH AND HUMAN SERVICES,
           SECRETARY OF THE DEPARTMENT OF HEALTH AND
           HUMAN SERVICES,
           UNITED STATES OF AMERICA,
           U.S. CENTERS FOR MEDICARE AND MEDICAID SERVICES,
           ADMINISTRATOR OF THE CENTERS FOR MEDICARE AND
           MEDICAID,


                                                    Defendants-Appellees.
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                      Appeal from the United States District Court
                          for the Northern District of Florida
                       D.C. Docket No. 3:21-cv-02722-MCR-HTC
                               ____________________

           Before ROSENBAUM, JILL PRYOR, and LAGOA, Circuit Judges.
           ROSENBAUM and JILL PRYOR, Circuit Judges:
                   On November 5, 2021, the Secretary of Health and Human
           Services issued an interim rule that requires facilities that provide
           health care to Medicare and Medicaid beneficiaries to ensure that
           their staff, unless exempt for medical or religious reasons, are fully
           vaccinated against COVID-19. See Omnibus COVID-19 Health
           Care Staff Vaccination, 86 Fed. Reg. 61,555 (Nov. 5, 2021) (the “in-
           terim rule”). Under the interim rule, covered staff must receive
           their first dose of a two-dose vaccine or a single-dose vaccine by
           December 6, 2021, or request an exemption by that date. Non-ex-
           empt covered staff must receive their second dose of a two-dose
           vaccine by January 4, 2021.
                  Florida brought this lawsuit challenging the interim rule. In
           the district court, Florida requested a preliminary injunction to bar
           the interim rule’s enforcement, which the district court denied.
           Florida has appealed the district court’s order denying its motion
           for a preliminary injunction. This case was presented to us on Flor-
           ida’s Time-Sensitive Motion for Injunction Pending Appeal. After
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           careful review, we denied the motion yesterday. Because of the
           time constraints involved, though we denied the motion yesterday,
           the attached opinion explains the reasons for our ruling as of the
           time that we denied the motion yesterday.
           FACTUAL BACKGROUND
           A.    In Response to the Ongoing COVID-19 Public Health
                 Crisis, the Secretary Issued the Interim Rule Mandating
                 Vaccines for Healthcare Workers at Medicare and Medi-
                 caid Facilities.

                 The United States is currently facing a public health emer-
           gency as the result of a novel corona virus, which causes the disease
           COVID-19. See 86 Fed. Reg. at 65,519. In the United States, more
           than 44 million individuals have been infected with COVID-19 and
           over 720,000 have died. See id. COVID-19 is the “deadliest disease
           in American history.” Id.
                  The Secretary recently took steps in administering the Med-
           icare and Medicaid programs to protect Americans from the risks
           associated with COVID-19. Tens of millions of Americans receive
           health care through these federally funded programs. See Azar v.
           Allina Health Servs., 139 S. Ct. 1804, 1808 (2019). Medicare, which
           is funded entirely by the federal government, covers individuals
           who are over age 65 or who have specified disabilities. See id. Med-
           icaid, which is funded by the federal government and the States,
           covers eligible low-income individuals, including those who are
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           elderly, pregnant, or disabled. See Garrido v. Dudek, 731 F.3d 1152,
           1153–54 (11th Cir. 2013).
                   Medicare and Medicaid beneficiaries receive health care ser-
           vices from a variety of entities including hospitals, skilled nursing
           facilities, home-health agencies, and hospices (collectively, “facili-
           ties”). To participate in the programs, a facility must enter into a
           provider agreement for the applicable program and demonstrate
           that it meets the conditions for participation. See 42 U.S.C. §§
           1395cc(a), 1396a(a)(27).
                  For both the Medicare and Medicaid programs, Congress
           charged the Secretary with ensuring that participating facilities pro-
           tect the health and safety of their patients. For example, the Medi-
           care statute authorizes payment for “hospital services,” id.
           § 1395d(a), defining a “hospital” as an institution that meets re-
           quirements “the Secretary finds necessary in the interest of the
           health and safety of individuals who are furnished services in the
           institution. See id. § 1395x(e)(9); see also id. § 1395i-3(d)(4)(B) (im-
           posing a similar requirement for skilled nursing facilities). Like-
           wise, the Medicaid statute requires that facilities meet health and
           safety standards “as the Secretary may find necessary.” Id. §
           1396r(d)(4)(B), 1396d(l)(1). In addition, the Medicaid statute incor-
           porates by cross reference analogous Medicare standards that grant
           the Secretary such authority. See id. § 1396d(h), (l)(1), (o).
                 Regulations establish detailed conditions of participation in
           the Medicare and Medicaid programs. Among other things, facili-
           ties must have effective “infection prevention and control
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           program[s]” in place to “help prevent the development and trans-
           mission of communicable disease and infections.” 42 C.F.R. §
           483.80. See also id. §§ 416.51, 482.42.
                   On November 5, the Secretary promulgated an interim rule
           to amend the infection-control regulations for facilities that partic-
           ipate in Medicare or Medicaid. As described above, this interim rule
           generally requires that facilities certified to participate in Medicare
           or Medicaid ensure their staff are fully vaccinated against COVID-
           19, unless an employee is exempt for medical or religious reasons.
           See 86 Fed. Reg. at 61,555, 61,561, 61,572. If a provider fails to com-
           ply with the vaccine-mandate requirement, it may be subjected to
           enforcement remedies, including civil monetary penalties, the de-
           nial of payment for new admissions, or termination of its Medicare
           or Medicaid provider agreement. Id. at 61,574.
                   The Secretary issued the interim rule because he found that
           requiring the vaccination of staff against COVID-19 was “necessary
           for the health and safety of individuals to whom care and services
           are furnished.” Id. at 61,561. Even though many health care work-
           ers have been vaccinated against COVID-19, the Secretary found
           that vaccination rates remain too low at many health care facilities.
           Id. at 61,559. Unvaccinated staff continue to pose a significant
           threat to patients because the virus that causes COVID-19 is highly
           transmissible and dangerous. Id. at 61,557. The Secretary cited data
           reflecting that the virus spreads readily among health care workers
           and from health care workers to patients and that such spread is
           more likely when health care workers are unvaccinated. Id. In
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           addition, the Secretary found that due to the same factors that qual-
           ified them for enrollment (age, disability, and/or poverty), patients
           covered by Medicare or Medicaid are “more susceptible” than the
           general population “to severe illness or death” if they contract
           COVID-19. Id. at 61,609.
                  The Secretary identified other ways that unvaccinated staff
           can jeopardize patients’ access to medical care and services. Id. at
           61,558. Fearing exposure to the virus, some patients have refused
           care by unvaccinated staff, which limits the ability of providers to
           meet the health care needs of their patients. Id. Other individuals
           forgo medical care altogether to avoid the possibility of being ex-
           posed to COVID-19. Id. And when staff members are exposed to
           or infected with COVID-19, they are absent from work, which fur-
           ther disrupts patients’ access to medical care. Id. at 61,559.
                   In issuing the interim rule, the Secretary considered that re-
           quiring vaccinations could cause some health care workers to leave
           their jobs rather than be vaccinated. But after reviewing empirical
           evidence, the Secretary concluded that this concern was overstated
           and outweighed by countervailing considerations. Id at 61,569.
           Among other things, the Secretary cited evidence showing that af-
           ter a large hospital system in Texas imposed a vaccine mandate,
           99.5% of its staff received the vaccine. Id. Only a very small number
           of workers—153 out of more than 26,000 (or 0.6%)—resigned ra-
           ther than receive the vaccine. Id. Similarly, after a Detroit-based
           health system instituted a vaccine mandate, it reported that 98% of
           its 33,000 workers were fully or partially vaccinated or in the
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           process of obtaining a religious or medical exemption, with less
           than one percent of staff receiving an exemption. Id.
                  Before issuing the interim rule, the Secretary also considered
           whether any alternatives to a vaccine mandate would adequately
           protect the health and safety of Medicare and Medicaid patients at
           the facilities. See id. at 61,613–14. One of these alternatives was to
           limit a vaccination requirement to health care workers who had
           not previously been infected with COVID-19. Id. at 61,614. But the
           Secretary rejected this alternative because uncertainties remained
           about “the strength and length” of immunity for individuals who
           had previously been infected. Id. A second alternative was to re-
           quire daily or weekly testing of unvaccinated individuals. But the
           Secretary rejected this alternative because the evidence showed
           that “vaccination was a much more effective infection control
           measure” than requiring testing alone. Id. Ultimately, the Secretary
           concluded that the vaccine mandate was “the minimum regulatory
           action necessary” to protect health and safety. Id. at 61,613.
                  The Secretary determined that the vaccine mandate require-
           ment should go into effect immediately, even though the agency
           had not previously given the public notice or an opportunity to
           comment. The Secretary found good cause for bypassing the no-
           tice-and-comment procedure generally required by 5 U.S.C. § 553
           because (1) patients in facilities funded by Medicare and Medicaid
           were more likely than the general population to suffer severe ill-
           ness or death from COVID-19; (2) there had already been over half
           a million cases of COVID-19 among health care staff; (3) COVID-
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           19 infection rates among health care staff increased when the Delta
           variant emerged, and (4) COVID-19 cases were expected to spike
           in the winter, which is also flu season, creating the risk of combined
           infections. Id. at 61,557–59, 61,583–84. Any “further delay in impos-
           ing a vaccine mandate,” the Secretary said, would endanger the
           health and safety of additional patients and be contrary to the pub-
           lic interest.” Id. at 61,584. Although the interim rule went into ef-
           fect immediately, the Secretary afforded the public with notice and
           an opportunity to comment through January 4, 2022. Id. at 61,601.
           B.     Florida Filed This Lawsuit Challenging the Interim
                  Rule.

                   About two weeks after the interim rule was issued, Florida
           filed this lawsuit along with a motion for a preliminary injunction,
           seeking to enjoin the Secretary from implementing and enforcing
           the interim rule. Florida challenged the rule under the Administra-
           tive Procedure Act, claiming that the interim rule exceeded the Sec-
           retary’s statutory authority, the Secretary failed to follow proper
           notice-and-comment procedures, and the interim rule was arbi-
           trary and capricious.
                  The district court denied Florida’s motion for a preliminary
           injunction. It concluded that Florida failed to demonstrate the State
           faced an irreparable injury if the injunction was not granted. Flor-
           ida asserted that it would be injured if the vaccine mandate went
           into effect because health care employees around the state would
           resign their positions rather than receive a vaccine. The court
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           determined these predictions were “speculative.” Doc. 6 at 9. Flor-
           ida also asserted that it operated a large number of healthcare facil-
           ities and thus faced substantial economic harm if these facilities
           were unable to comply with the mandate and were cut off from
           federal funding as a result. The district court concluded, however,
           that the claimed economic injuries were not irreparable based on
           the “possibility that adequate compensatory or other corrective re-
           lief will be available at a later date, in the ordinary course of litiga-
           tion.” Id. at 9–10 (internal quotation marks omitted). The court fur-
           ther found that Florida’s claim was speculative given the lack of
           evidence that healthcare workers would not take vaccines or re-
           ceive exemptions from the vaccine requirement.
                  After the district court ruled, Florida notified the court that
           since the filing of its motion for a preliminary injunction the State
           had enacted a new statute regarding vaccine mandates. Under the
           new Florida statutory scheme, all employers, including the govern-
           ment, were barred from imposing COVID-19 vaccine require-
           ments on their employees. Employers that violated the statute
           were subject to fines, ranging from $5,000 to $50,000 per violation.
           Fla. Stat. §§ 112.0441, 381.00317(4)(a).
                  Florida argued that it faced a further irreparable injury be-
           cause under the interim rule, it would be unable enforce its new
           statutory scheme barring employers from imposing vaccine man-
           dates. The district court was unpersuaded and in a second order on
           the motion for preliminary injunction concluded that Florida had
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            failed to establish a substantial likelihood of success on the merits
            or a substantial risk of irreparable injury.
                   Florida appealed the district court’s order denying its mo-
            tion for a preliminary injunction. It filed this motion for an injunc-
            tion pending appeal.
            C.     Other States Filed Similar Lawsuits Challenging the In-
                   terim Rule.

                   Florida was not the only state to bring a lawsuit challenging
            the interim rule requiring COVID-19 vaccinations for healthcare
            workers. One group of ten states—Missouri, Alaska, Arkansas,
            Iowa, Kansas, Nebraska, New Hampshire, North Dakota, South
            Dakota, and Wyoming—challenged the interim rule in district
            court in the Eastern District of Missouri. See Missouri v. Biden, No
            4:21-cv-1329, 2021 WL 5564501 (E.D. Mo. Nov. 29, 2021). A second
            group of ten states—Louisiana, Alabama, Arizona, Georgia, Idaho,
            Indiana, Kentucky, Mississippi, Montana, Ohio, Oklahoma, South
            Carolina, Utah, and West Virginia—brought a similar lawsuit in
            the Western District of Louisiana. Louisiana v. Becerra, No. 3:21-
            cv-03970, 2021 WL 5609846 (W.D. La. Nov. 30, 2021).
                   The district court in Missouri granted the motion for a pre-
            liminary injunction and enjoined the federal government from im-
            plementing or enforcing the interim rule in the ten plaintiff states.
            See Missouri, 2021 WL 5564501, at *15. The district court did not
            issue a nationwide preliminary injunction. Id.
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                   After the district court in this case entered its order denying
            a preliminary injunction and the Missouri court entered its order
            granting one, the district court in Louisiana entered its own order
            granting the plaintiff states’ motion for a preliminary injunction.
            The Louisiana court entered a nationwide injunction (save for the
            states already covered by the Missouri injunction). See 2021 WL
            5609846, at *17. The Louisiana nationwide injunction currently
            bars the federal government from implementing or enforcing the
            interim rule in Florida.
            LEGAL STANDARD
                    An injunction pending appeal is an “extraordinary remedy.”
            Touchston v. McDermott, 234 F.3d 1130, 1132 (11th Cir. 2000) (en
            banc). Such an injunction “requires the exercise of our judicial dis-
            cretion.” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,
            1317 (11th Cir. 2019). For an injunction pending appeal, the mo-
            vant must establish all the following: “(1) a substantial likelihood
            that [it] will prevail on the merits of the appeal; (2) a substantial risk
            of irreparable injury to the [movant] unless the injunction is
            granted; (3) no substantial harm to other interested persons; and
            (4) no harm to the public interest.” Touchston, 234 F.3d at 1132.
            Because such an injunction is an “extraordinary and drastic rem-
            edy,” we may not enter one “unless the movant clearly established
            the burden of persuasion as to each of the four prerequisites.”
            Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).
            The first two factors are “the most critical.” Nken v. Holder, 556
            U.S. 418, 434 (2009). Regarding the first prong, “[i]t is not enough
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            that the chance of success on the merits be better than negligible.”
            Id. Similarly, as to the second prong, it is not enough simply to
            “show[] some possibility of irreparable injury.” Id. at 434–35 (cita-
            tion and internal quotation marks omitted).
                    In evaluating whether Florida can show a substantial likeli-
            hood of success on the merits, we consider whether the State is
            likely to be able to show that the district court abused its discretion
            in denying a preliminary injunction. We thus apply “the usual
            standards of review governing our review of the merits of the pre-
            liminary injunction.” Lee, 915 F.3d at 1317. Accordingly, we exam-
            ine the district court’s decision to deny a preliminary injunction for
            an abuse of discretion, reviewing de novo any underlying legal con-
            clusions and for clear error any findings of fact. Id.
            THIS CASE IS NOT MOOT DESPITE THE NATIONWIDE
            INJUNCTION ISSUED IN LOUISIANA, AND PRUDENTIAL
            CONCERNS FAVOR OUR DECIDING THE MOTION.
                    Of the three federal courts considering motions to enjoin en-
            forcement of the interim rule, the district court here was the first
            to rule. It denied Florida’s motion because the State failed to
            demonstrate irreparable injury. While the motion for preliminary
            injunction was pending, Florida enacted a statute that barred public
            and private employers from enforcing vaccine mandates. The dis-
            trict court entered a second order considering the statute and con-
            cluded that Florida failed to establish a substantial risk of irrepara-
            ble injury or a substantial likelihood of success on the merits.
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                   The district court in the Missouri case reached a different
            conclusion concerning the facts before it. It granted the motion for
            a preliminary injunction and enjoined the federal government
            from implementing or enforcing the interim rule in the ten plaintiff
            states only. See Missouri, 2021 WL 5564501, at *15.
                    Then came Louisiana. Without even acknowledging the dis-
            trict court’s denial of a preliminary injunction in this case, the Lou-
            isiana district court entered a nationwide injunction that excluded
            only the ten states subject to the Missouri injunction. See 2021 WL
            5609846, at *17.
                   The Louisiana nationwide injunction, which was in place
            when we denied Florida’s motion yesterday, purported to bar the
            federal government from implementing or enforcing the interim
            rule in Florida, effectively awarding Florida the relief it sought in
            the district court and it sought in its motion for injunction pending
            appeal, even though Florida was not a party to the Louisiana mat-
            ter and even though the Northern District of Florida denied the
            State this relief.
                   Nevertheless, Florida urged us to decide its motion for in-
            junction anyway. It noted that the United States had moved to stay
            the Missouri order and indicated its expectation that the United
            States would seek the same relief in the Fifth Circuit. Based on
            these developments, Florida wrote, “Were the nationwide injunc-
            tion stayed or narrowed, Florida and its citizens would be without
            protection beginning on December 6.” Mot. for Injunction Pend-
            ing Appeal at 8. And it asked us “to consider Florida’s motion as
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            time sensitive” and “issue a ruling before the December 6 dead-
            line.” Id.
                   We therefore were required to determine whether we could
            do so. We concluded that we could. And so, yesterday, December
            5, we issued our order denying Florida’s motion and indicated that
            our opinion would follow.. We now explain why we had jurisdic-
            tion to proceed yesterday, despite the Louisiana preliminary in-
            junction, and why prudential concerns militated in favor of our de-
            cision to rule. We address jurisdictional issues first and then pru-
            dential ones.
                   Article III limits the power of the federal courts to “[c]ases”
            and “[c]ontroversies.” U.S. Const. art. III, § 2; see Lujan v. Defs. of
            Wildlife, 504 U.S. 555, 559–60 (1992). The jurisdictional concern
            here implicates mootness. We have explained that a case becomes
            moot when events after its commencement “create a situation in
            which the court can no longer give the plaintiff meaningful relief.”
            Nat’l Ass’n of Bds. of Pharmacy v. Bd. of Regents of the Univ. Sys.
            of Ga., 633 F.3d 1297, 1308 (11th Cir. 2011).
                    Here, we were required to consider whether the entry of the
            Louisiana injunction rendered this case moot. The Louisiana in-
            junction purported to enjoin the interim rule throughout the na-
            tion—including, of course, in Florida. That fact, on its face, ap-
            peared, as practical matter, to moot the pending appeal: if the Lou-
            isiana injunction already enjoined the interim rule’s application in
            Florida, then Florida’s requested relief here—enjoining enforce-
            ment of the interim rule—could accomplish nothing more.
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                   But Florida’s insistence that we decide this motion raised the
            capable-of-repetition-yet-evading-review exception to mootness.
            Under this exception, we may review a matter “if (1) the challenged
            action is in its duration too short to be fully litigated prior to its
            cessation or expiration, and (2) there is a reasonable expectation
            that the same complaining party will be subjected to the same ac-
            tion again.” United States v. Sanchez-Gomez, ___ U.S. ___, 138 S.
            Ct. 1532, 1540 (2018) (internal quotation marks omitted).
                   Other courts have found this exception to the mootness doc-
            trine applicable in similar situations. In California v. U.S. Dep’t of
            Health & Hum. Servs., 941 F.3d 410 (9th Cir. 2019), judgment va-
            cated on other grounds by Little Sisters of the Poor Saints Peter &
            Paul Home v. Pennsylvania, 591 U.S. ___, 140 S. Ct. 2367 (2020),
            for example, the district court entered a preliminary injunction
            which was to be effective in only designated states. See id. at 420.
            After the district court issued that injunction, though, an out-of-
            circuit district court issued a similar preliminary injunction, but its
            reach was nationwide. See id. at 421. The Ninth Circuit considered
            whether, given the out-of-circuit nationwide injunction, the appeal
            of the in-circuit, more limited injunction had become moot. See id.
            at 421–22. The court concluded it had not because the matter was
            capable of repetition yet evading review. Id. at 423.
                  Noting the short period of time between when the in-circuit
            and out-of-circuit district courts had entered their injunctions, the
            Ninth Circuit reasoned that it was “clearly too short for the prelim-
            inary injunction to be fully litigated prior to its cessation or
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            expiration.” Id. (cleaned up). This situation satisfied the first re-
            quirement of the capable-of-repetition-yet-evading-review excep-
            tion. As for the second requirement of the exception, the court ob-
            served that the out-of-circuit court’s injunction was a preliminary
            injunction, so it would expire. Id. And when it did, the court con-
            tinued, the defendants there would once again be subjected to the
            injunction in the in-circuit case. Id. Although the Ninth Circuit rec-
            ognized that the district court could rule in favor of the plaintiffs
            on the permanent injunction and could choose to keep the nation-
            wide aspect of it intact, it determined that “[t]hat mere possibility
            does not . . . undermine our conclusion that, given the many other
            possible outcomes in the [out-of-circuit] case, there remains a ‘rea-
            sonable expectation’ that the federal defendants will be subjected
            to the injunction in this case.” Id. As the court explained, “[a] ‘rea-
            sonable expectation’ does not demand certainty.” Id.
                    Finally, observing that “[t]he Supreme Court has yet to ad-
            dress the effect of a nationwide preliminary injunction on an appeal
            involving a preliminary injunction of limited scope,” the court
            “acknowledge[d] that [it was] in uncharted waters.” Id. But it noted
            that its “approach to mootness” was “consistent with the Supreme
            Court’s interest in allowing the law to develop across multiple cir-
            cuits,” id.—an interest that we discuss more below, in our analysis
            of the prudential aspects of reviewing the district court’s order here
            denying the preliminary injunction, given the Louisiana prelimi-
            nary injunction.
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                   We think the same reasoning required application of the ex-
            ception here. Working backwards under the governing test, we
            start with the recognition that a reasonable expectation exists that
            Florida would be subjected to the interim rule again. That was so
            because a reasonable expectation existed that during its review of
            the Louisiana injunction, the Fifth Circuit would, at the very least,
            do away with the nationwide aspect of that order.
                    Of course, we do not purport to review the propriety of the
            nationwide aspect of the Louisiana injunction; that’s the Fifth Cir-
            cuit’s job. But to assess the applicability of the capable-of-repeti-
            tion-yet-evading-review exception, we necessarily had to gauge the
            likelihood that the nationwide aspect of the Louisiana injunction
            would withstand scrutiny. And when we did that, we concluded
            that there was a reasonable expectation that, at the least, the Fifth
            Circuit would not uphold the nationwide aspect of the injunction.
                    Here’s why. To begin with, a federal district court may issue
            a nationwide, or “universal,” see Trump v. Hawaii, ___ U.S. ___,
            138 S. Ct. 2392, 2425 n.1 (2018) (Thomas, J., concurring) injunction
            “in appropriate circumstances.” Texas v. United States, 809 F.3d
            134, 188 (5th Cir. 2015), as revised (Nov. 25, 2015). But notably,
            those appropriate circumstances are rare. See City of Chicago v.
            Barr, 961 F.3d 882, 916 (7th Cir. 2020). A nationwide injunction
            may be warranted where it is necessary to provide complete relief
            to the plaintiffs, to protect similarly situated nonparties, or to avoid
            the “chaos and confusion” of a patchwork of injunctions. Id. at 916–
            17 (citing Amanda Frost, In Defense of Nationwide Injunctions, 93
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            N.Y.U. L. Rev. 1065, 1101 (2018) (internal quotation marks omit-
            ted)). Or universal relief may be justified where the plaintiffs are
            dispersed throughout the United States, when immigration law is
            implicated, or when certain types of unconstitutionality are found.
            See Int’l Refugee Assistance Project v. Trump, 857 F.3d 554, 605
            (4th Cir. 2017), as amended (June 15, 2017), vacated and remanded
            on other grounds sub nom. Trump v. Int’l Refugee Assistance, ___
            U.S. ___, 138 S. Ct. 353 (2017). None of these considerations sup-
            ported the nationwide injunction imposed by the Western District
            of Louisiana. We review them in turn.
                    First, the court could have provided complete relief to the
            plaintiffs with an injunction limited in scope to the States that were
            plaintiffs there. Yet it nonetheless awarded relief to nonparties. Ju-
            rists and scholars have called into question both the wisdom and
            propriety of granting relief to nonparties. See, e.g., Dep’t of Home-
            land Sec. v. New York, ___ U.S. ___, 140 S. Ct. 599, 600 (2020)
            (Gorsuch, J., concurring) (“The real problem here is the increas-
            ingly common practice of trial courts ordering relief that trans-
            cends the cases before them. . . . [T]hese orders share the same basic
            flaw—they direct how the defendant must act toward persons who
            are not parties to the case.”); see also Samuel L. Bray, Multiple
            Chancellors: Reforming the National Injunction, 131 Harv. L. Rev.
            417, 421 (2017).
                   Second, this case raises no concerns that a non-nationwide
            preliminary injunction wouldn’t provide the plaintiffs with com-
            plete relief because the plaintiffs were not dispersed among the
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            United States or “myriad jurisdictions” like in a nationwide class
            action. See Refugee, 857 F.3d at 605. Rather, the plaintiffs were the
            fourteen states themselves. So the Louisiana court would have had
            no trouble fashioning a remedy that was certain to include all the
            plaintiffs. And as a practical matter, the Louisiana court had no
            need to worry about protecting similarly situated nonparties. Non-
            parties who wanted the same protection (ten states) had already
            achieved it through the Missouri injunction. See Missouri, 2021
            WL 5564501, at *15. Given the relaxed joinder rules for plaintiffs,
            any remaining states that wanted protection from the interim rule
            could have obtained it by joining or intervening in either Missouri
            or Louisiana. Or, like Florida did here, they could have simply filed
            their own cases. So the Louisiana court could have provided the
            complete relief that its plaintiff states requested—an injunction
            against enforcement of the interim rule against them—without is-
            suing a nationwide injunction. Indeed, that is exactly what the Mis-
            souri court did.
                   Third, courts have frequently found that a nationwide in-
            junction can be warranted in the immigration law context or when
            certain unconstitutionality is found. Neither is implicated here.
                   Universal injunctions in the immigration context are based
            on the need for uniformity in the enforcement of immigration law
            and Congress’s desire to create a comprehensive and unified sys-
            tem of immigration law. Texas, 809 F.3d at 187–88; see also Refu-
            gee, 857 F.3d at 605. The rule at issue here, though—the interim
            rule related to vaccination—has nothing to do with immigration.
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                   Courts have also held that a nationwide injunction can be
            necessary when the challenged law suffers from constitutional in-
            firmities implicating individual liberties. Refugee, 857 F.3d at 605
            (holding that allowing executive action that violated the Establish-
            ment Clause should be enjoined universally because “[i]ts contin-
            ued enforcement . . . would only serve to reinforce the message
            that Plaintiffs are outsiders, not full members of the political com-
            munity”) (internal quotation marks omitted). Here, the plaintiff
            states in Louisiana did raise, and the court found a likelihood of
            success on the merits of, various constitutional challenges. But
            those challenges related to the Spending Clause, Tenth Amend-
            ment, Non-Delegation Doctrine, and Anti-Commandeering Doc-
            trine. Louisiana, 2021 WL 5609846, at *14–16. They did not impli-
            cate threats to constitutionally protected individual liberties such
            that nationwide relief would be warranted.
                   Fourth, any desire on the part of the Louisiana district court
            to avoid a patchwork of injunctions was outweighed by the need
            for “development in different factual contexts and in multiple deci-
            sions by the various courts of appeals.” California v. Azar, 911 F.3d
            558, 583 (9th Cir. 2018) (internal quotation marks omitted). When,
            as here, a regulatory challenge involves important and difficult
            questions of law, it is especially vital that various courts be allowed
            to weigh in so that the issues can percolate among the courts. See
            Bray, Multiple Chancellors, supra, at 461. As the Supreme Court
            has recognized, nationwide injunctions “may have a detrimental
            effect by foreclosing adjudication by a number of different courts
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            and judges.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). The
            hasty imposition of a nationwide injunction undermines the judi-
            cial system’s goals of allowing the “airing of competing views” and
            permitting multiple judges and circuits to weigh in on significant
            issues. Dep’t of Homeland Sec., 140 S. Ct. at 600 (Gorsuch, J., con-
            curring).
                   The Louisiana court did not grapple with these factors when
            it entered the nationwide injunction. Instead, the entirety of the
            Louisiana court’s reasoning for imposing a nationwide—as op-
            posed to a more limited—injunction follows:
                  In addressing the geographic scope of the preliminary
                  injunction, due to the nationwide scope of the CMS
                  Mandate, a nationwide injunction is necessary due to
                  the need for uniformity. Texas, 809 F.3d at 187-88.
                  Although this Court considered limiting the injunc-
                  tion to the fourteen Plaintiff States, there are unvac-
                  cinated healthcare workers in other states who also
                  need protection. Therefore, the scope of this injunc-
                  tion will be nationwide, except for the states of
                  Alaska, Arkansas, Iowa, Kansas, Missouri, New
                  Hampshire, Nebraska, Wyoming, North Dakota,
                  South Dakota, since these ten states are already under
                  a preliminary injunction order dated November 29,
                  2021, out of the Eastern District of Missouri.

            Louisiana, 2021 WL 5609846, at *17.
                  As we have noted, we concluded that there was a reasonable
            expectation that this reasoning would not withstand scrutiny. For
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            starters, it is conclusory. The Louisiana order never explains why
            there is a “need for uniformity” here, other than to cite Texas, 809
            F.3d at 187–188, without explanation.
                    But that case has no applicability here. In Texas, the Fifth
            Circuit upheld a preliminary injunction that forbade implementa-
            tion of the Deferred Action for Parents of Americans and Lawful
            Permanent Residents program. See id. In so doing, the court ex-
            plained that “the Constitution requires ‘an uniform Rule of Natu-
            ralization’;[] Congress has instructed that ‘the immigration laws of
            the United States should be enforced vigorously and uniformly’:[]
            and the Supreme Court has described immigration policy as ‘a
            comprehensive and unified system.’[]” Id. at 187–88 (footnotes
            omitted). And of course, it is obvious why the United States—a sin-
            gle sovereign—must speak with one voice when it comes to mat-
            ters of immigration.
                   But those considerations are not present with the subject
            matter of the Louisiana injunction. The Louisiana order offers no
            reason why, as a constitutional, statutory, or practical matter, the
            interim rule cannot be in effect in some states but not others. Nor
            could we think of any good reason.
                    Quite simply, this does not appear to be one of those “rare”
            situations where a nationwide injunction is warranted or even jus-
            tifiable. For those reasons, it seemed to us an eminently “reasona-
            ble expectation” that, at the very least, the nationwide aspect of the
            Louisiana injunction would be eliminated, and Florida would be
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            subject to the interim rule when upon its taking effect on Decem-
            ber 6.
                    Having explained why there was a reasonable expectation
            that this situation would recur, we turn to the first requirement
            under the capable-of-repetition-yet-evading-review exception: the
            very short timeframe. When we denied Florida’s emergency mo-
            tion, it was December 5, the day by which we had been asked to
            rule because the interim rule was supposed to become effective to-
            day, December 6. The government had asked the Fifth Circuit to
            decide the appeal in Louisiana by yesterday, December 5. For the
            reasons we have explained, at the time we denied Florida’s motion
            yesterday, we had a reasonable expectation that the Fifth Circuit
            would eliminate the nationwide aspect of the injunction. And if it
            did, very little time would remain between then and when Florida
            would again be subjected to the interim rule. Because the interim
            rule requires immediate vaccination for covered employees for
            whom a valid exception does not apply, if we did not decide the
            case yesterday, the case would have again become moot—but this
            time because the subject employees will have been vaccinated.
                   A recent Supreme Court opinion involving a similar situa-
            tion perhaps suggests that a court outside the jurisdiction that en-
            tered a purported nationwide injunction does not lack jurisdiction
            to address the same challenge as it arises in that court’s jurisdiction.
            In Department of Homeland Security v. Regents of the University
            of California, ___ U.S. ___, 140 S. Ct. 1891 (2020), the Supreme
            Court reviewed three cases out of three courts in different circuits
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            that raised the same issue, including two cases where the district
            courts had each entered nationwide preliminary injunctions
            against the government. See id. at 1904. The government appealed
            all three rulings. See id. at 1905. While those appeals to the three
            circuit courts were pending, the government simultaneously
            sought certiorari before judgment. Id. After one circuit court af-
            firmed the nationwide injunction, but before rulings issued from
            the other two circuits, the Supreme Court granted certiorari and
            consolidated the cases. Id. Given the overlapping nationwide in-
            junctions, amici had urged the Court to address the propriety of
            nationwide injunctions. See, e.g., Brief Amicus Curiae of Citizens
            United, et al., Dep’t of Homeland Sec. v. Regents of the Univ. of
            Cal., Nos. 18-587 & 18-589. But the Supreme Court chose not to do
            so. And in its opinion, though it acknowledged the overlapping na-
            tionwide injunctions, see 140 S. Ct. at 1904, it did not comment
            further on them.
                   We are, of course, aware that the Supreme Court’s “decision
            to grant cert on one question doesn’t implicitly answer any others
            presented.” Babb v. Sec’y, Dep’t of Veterans Affs., 992 F.3d 1193,
            1201 (11th Cir. 2021). But considering that courts lack Article III
            jurisdiction when a case is moot, we think it likely that, had the
            Supreme Court thought one or more of the courts that rendered
            the decisions it was reviewing lacked subject matter jurisdiction, it
            would have commented on that. This, then, further supports the
            proposition that the issue facing this Court fell into the capable-of-
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            repeating-yet-evading-review exception to mootness, and that this
            Court did not lack jurisdiction.
                   Not only did we have jurisdiction here, but also prudential
            concerns militated in favor of ruling on the pending motion, de-
            spite the Louisiana nationwide injunction. Those concerns impli-
            cate comity and what has been described as “percolation.”
                   First, comity: “The federal courts long have recognized that
            the principle of comity requires federal district courts—courts of
            coordinate jurisdiction and equal rank—to exercise care to avoid
            interference with each other’s affairs.” W. Gulf Mar. Ass’n v. ILA
            Deep Sea Local 24, 751 F.2d 721, 728 (5th Cir. 1985). Comity dic-
            tates that courts should “avoid rulings which may trench upon the
            authority of sister courts.” Id. Principles of comity generally guide
            federal courts to “exercise . . . restraint” when an injunction in one
            federal proceeding would interfere with another federal proceed-
            ing. Brittingham v. U.S. Comm’r, 451 F.2d 315, 318 (5th Cir. 1971).
            In particular, as some of our sister circuits have recognized, the is-
            suance of a nationwide injunction may create comity problems
            when similar, parallel lawsuits involving different plaintiffs are
            pending in other district courts. See L.A. Haven Hospice, Inc. v.
            Sebelius, 638 F.3d 644, 664 –65 (9th Cir. 2011) (vacating nationwide
            injunction in case involving review in several courts of appeals of
            challenges to regulation); United States v. AMC Ent., Inc., 549 F.3d
            760, 773 (9th Cir. 2008) (vacating portion of nationwide injunction
            based on “comity” concerns when Fifth Circuit had “judicially re-
            pudiated” the challenge in a separate, parallel case); Va. Soc’y for
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            Human Life, Inc. v. FEC, 263 F.3d 379, 393 (4th Cir. 2001) (same),
            overruled on other grounds by Real Truth About Abortion, Inc. v.
            FEC, 681 F.3d 544, 550 n.2 (4th Cir. 2012). Here, the Louisiana dis-
            trict court never acknowledged that the district court in this case
            had already denied Florida’s motion for a preliminary injunction.
            It likewise did not consider the comity problems that arose from
            effectively awarding relief to Florida that the district court in this
            case had already denied.
                    As to percolation, as we have discussed, when a case raises a
            novel and important issue, allowing multiple federal appellate
            courts the opportunity to express their views on the issue adds
            value. Indeed, the Supreme Court has recognized that the ultimate
            resolution of such issues benefits from litigation in multiple cases
            because various circuit courts may effectively debate one another
            over the proper outcome. See Califano, 442 U.S. at 702 (warning
            that nationwide injunctions “may have a detrimental effect by fore-
            closing adjudication by a number of different courts and judges”);
            United States v. Mendoza, 464 U.S. 154, 160 (1984) (criticizing ap-
            proach that would interfere with “the development of important
            questions of law” by barring multiple courts of appeals from ex-
            ploring a difficult question); see also Dep’t of Homeland Sec., 140
            S. Ct. at 600 (Gorsuch, J., concurring) (criticizing the practice of is-
            suing nationwide injunctions because it interferes with the tradi-
            tional system of case-by-case review that allows “multiple judges
            and multiple circuits to weigh in only after careful deliberation,”
            which “permits the airing of competing views that aids this Court’s
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            own decisionmaking process”); Hawaii, 138 S. Ct. at 2425
            (Thomas, J., concurring) (stating that nationwide injunctions “are
            beginning to take a toll on the federal court system . . . [by] pre-
            venting legal questions from percolating through the federal
            courts”). Here, by evaluating the interim-rule issue anew, we add
            to that percolation.
                    In short, the Louisiana nationwide preliminary injunction
            did not deprive us of jurisdiction over this motion for injunction.
            Nor did any prudential concerns dictate that we should abstain. In
            fact, the opposite is true. So we will turn to the merits of the mo-
            tion.
            FLORIDA FAILED TO CARRY ITS BURDEN TO ESTABLISH IT
            IS ENTITED TO THE EXTRAORDINARY REMEDY OF AN
            INJUNCTION PENDING APPEAL.
                    Florida has failed to meet its extremely high burden and
            clearly establish its entitlement to a preliminary injunction pending
            appeal. Having carefully considered the relevant factors, we con-
            clude that Florida failed to demonstrate (1) a substantial likelihood
            that it will prevail on the merits of its appeal from the denial of a
            preliminary injunction; (2) it will suffer irreparable injury absent an
            injunction; or (3) the balance of the equities favor an injunction.
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            D.    Florida Failed to Carry Its Burden to Establish a Sub-
                  stantial Likelihood That It Will Succeed on the Merits
                  of Its Appeal.

                    We begin with the first of the two most critical factors:
            whether Florida established a substantial likelihood that it will suc-
            ceed on the merits of its appeal challenging the district court’s de-
            nial of a preliminary injunction. Florida carries a heavy burden.
            The grant of a preliminary injunction is “the exception rather than
            the rule.” United States v. Lambert, 695 F.2d 536, 539 (11th Cir.
            1983). “It is not enough that the chance of success on the merits be
            better than negligible.” Nken, 556 U.S. at 434. Here, we cannot say
            that it is substantially likely that Florida can demonstrate the dis-
            trict court abused its discretion when it denied the motion for a
            preliminary injunction.
                   In this lawsuit, Florida challenged the validity of the interim
            rule under the Administrative Procedure Act (“APA”). Under the
            APA, a court must “hold unlawful and set aside agency action” that
            is “arbitrary, capricious, an abuse of discretion, or otherwise not in
            accordance with law;” that is in excess of statutory authority; or
            that is “without observance of procedure required by law.”
            5 U.S.C. § 706(2) (A), (C)–(D). The procedures required by law un-
            der the APA generally include that an agency must afford inter-
            ested persons notice of proposed rulemaking and an opportunity
            to comment before a substantive rule is promulgated. See Chrysler
            Corp. v. Brown, 441 U.S. 281, 313 (1979) (citing 5 U.S.C. § 553).
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                   Florida argues that it is likely to succeed on the merits on
            appeal of the district court’s orders denying a preliminary injunc-
            tion because the Secretary failed to show that he had the statutory
            authority to impose a vaccine mandate on healthcare workers,
            acted contrary to law by promulgating the interim rule without fol-
            lowing notice-and-comment procedures, and acted arbitrarily and
            capriciously by imposing the vaccine mandate. We are not per-
            suaded that Florida has shown that it is substantially likely that it
            will succeed on any of these arguments.
                   1. Florida Failed to Demonstrate It Is Likely to Succeed in
                      Showing That the Secretary Lacked the Statutory Au-
                      thority to Issue the Interim Rule.
                   After reviewing the relevant statutory scheme, we conclude
            that Florida failed to carry its burden to show a substantial likeli-
            hood that it will prevail on the merits of its claim that the Secretary
            lacked the statutory authority to enact the interim rule. The Secre-
            tary has express statutory authority to require facilities voluntarily
            participating in the Medicare or Medicaid programs to meet health
            and safety standards to protect patients. Based on this statutory au-
            thority, the Secretary was authorized to promulgate the interim
            rule.
                   In both the Medicare and Medicaid statutes, Congress au-
            thorized the Secretary to set standards to protect the health and
            safety of patients. For example, the Medicare statute authorizes
            payments to be made for “hospital services.” 42 U.S.C. § 1395d(a).
            Congress baked into the statutory definition of “hospital” that the
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            institution must meet any “requirements that the Secretary finds
            necessary in the interest of the health and safety of individuals who
            are furnished services in the institutions.” Id. § 1395x(e)(9). The
            Secretary was acting pursuant to this statutory authority in prom-
            ulgating the interim rule: by requiring healthcare workers to be-
            come vaccinated against a transmissible and highly deadly disease,
            he was imposing a “requirement[]” that was “necessary in the in-
            terest of the health and safety” of the patients who obtained ser-
            vices at federally funded Medicare and Medicaid facilities. Id.; see,
            e.g., id. §§ 1395x(e)(9), (f)(2), (aa)(2)(k), (dd)(2)(G); 1396d(h), (l)(1),
            (o); 1396r(d)(4)(B).
                   Florida argues that the Secretary’s decision to impose a vac-
            cine mandate for all covered health care workers is foreclosed by a
            separate federal statute that prohibits a federal officer from exercis-
            ing supervision or control over the practice of medicine, the man-
            ner in which medical services are provided, or the operation of an
            institution. See 42 U.S.C. § 1395. We agree with the district court
            that “[t]his argument misconstrues the nature of the vaccination
            mandate.” Doc. 18 at 15. With the interim rule, the Secretary is not
            regulating the practice of medicine, the manner in which medical
            services are provided, or the operation an institution. As the district
            court explained, the Secretary is simply “regulating a federal pro-
            gram by requiring facilities that receive federal funding to develop
            and implement policies and procedures to ensure the vaccination
            of covered healthcare workers and staff for the health and safety of
            patients within those facilities.” Id. The interim rule is akin to
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            longstanding, unchallenged regulations that require facilities to
            prevent the spread of infection. See, e.g., 42 C.F.R. §§ 416.51(b),
            482.42(a).
                    The dissent argues that the interim rule violates the major
            questions doctrine. Its premise is flawed. As a matter of fact, the
            interim rule does not “bring about an enormous and transforma-
            tive expansion in . . . regulatory authority without clear congres-
            sional authorization.” Dissent at 22 (quoting Util. Air Regal Grp.
            v. EPA, 573 U.S. 302, 324 (2014)). First, as the dissent acknowl-
            edges, the Medicare and Medicaid statutes give the Secretary the
            authority to issue regulations for the “administration” of Medicare
            and Medicaid and the “health and safety” of recipients. Id. at 21.
            The Secretary has explained how the vaccine mandate furthers
            both aspects of his authority. As to administration of Medicare and
            Medicaid, it is the very opposite of efficient and effective admin-
            istration for a facility that is supposed to make people well to make
            them sick with COVID-19. If that happens, more patients will have
            to be treated by Medicare and Medicaid. It is also highly inefficient
            for facility employees to be out sick with COVID-19. As to health
            and safety, COVID-19 is a deadly disease that has killed more than
            three quarters of a million Americans in less than two years. It is
            also highly transmissible. The regulation reasonably, perhaps nec-
            essarily, covers all employees who work at these facilities as a
            health and safety measure because if any one of them has COVID-
            19 and is present at the facility, she can spread it to the patients,
            whether directly or indirectly through other employees.
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                    Second, the dissent argues that “CMS has never before en-
            forced a vaccination mandate” and “nothing” in the statutes “indi-
            cates” that the agency has such authority. Id. at 23. But by its very
            nature, a broad grant of authority such as Congress has given the
            Secretary here—which plainly encompasses the Secretary’s ac-
            tions—does not require an indication that specific activities are per-
            mitted. And it’s no surprise that CMS has never enforced a vaccine
            mandate because vaccinations for healthcare employees have
            never been an issue of economic and political significance before
            now. Indeed, healthcare workers have long been required to ob-
            tain inoculations for infectious diseases, such as measles, rubella,
            mumps, and others, see 86 Fed. Reg. at 61567–68, because required
            vaccination is a common-sense measure designed to prevent
            healthcare workers, whose job it is to improve patients’ health,
            from making them sicker. Indeed, mandatory vaccinations for the
            public at large have long been held valid. See Jacobson v. Massa-
            chusetts, 197 U.S. 11, 35 (1905). So, when it comes to vaccination
            mandates, there was no reason for Congress to be more specific
            than authorizing the Secretary to make regulations for the “health
            and safety” of Medicare and Medicaid recipients. To suggest other-
            wise would mean that Congress had to have anticipated both the
            unprecedented COVID-19 pandemic and the unprecedented polit-
            icization of the disease to regulate vaccination against it. 1


            1The dissent also questions the constitutionality of the federal government’s
            imposing a vaccine mandate on healthcare workers, saying that the require-
            ment “significantly alter[s] the balance between federal and state power.”
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                   To support their argument that that federal statutes do not
            authorize the Secretary to impose a vaccine-mandate requirement
            for health care workers, Florida and the dissent also cite to the Su-
            preme Court’s recent order in Alabama Association of Realtors v.
            Department of Health and Human Resources, ___ U.S. ___, 141 S.
            Ct. 2485 (2021). We are not persuaded that the Supreme Court’s
            order in Alabama Association of Realtors establishes that the Sec-
            retary lacked the statutory authority to issue the interim rule.
                   In Alabama Association of Realtors, the Court stayed a
            lower court order that permitted the Centers for Disease Control
            (“CDC”) to extend a nationwide moratorium on evictions due to
            the COVID-19 pandemic. Id. at 2486. The CDC claimed the au-
            thority to impose the eviction moratorium under the Public Health
            Services Act, 42 U.S.C. § 264(a). This statute authorized the CDC
            to make and enforce regulations necessary “to prevent the intro-
            duction, transmission, or spread of communicable diseases from
            foreign countries into the States or possessions, or from one State
            or possession into any other State or possession.” Id. at 2487


            Dissent at 35. We disagree. The federal government’s authority to impose the
            interim rule’s vaccine requirement derives from the Spending Clause. See U.S
            Const. art. I, § 8, cl. 1. When a facility, even one operated by a State, voluntar-
            ily chooses to participate in the Medicare and Medicaid programs and receives
            federal funding for services provided to beneficiaries, the facility must comply
            with the federal law. And, as we explained above, Congress unambiguously
            conditioned the payment of funds under the Medicare and Medicaid programs
            to facilities that comply with “health and safety standards” set by the Secretary.
            See Section I-A, supra.
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            (quoting 42 U.S.C. § 264(a)). It specified that the types of measures
            that could be necessary included inspection, fumigation, disinfec-
            tion, sanitation, pest extermination, and destruction of contami-
            nated animals and articles. The Court rejected the CDC’s argu-
            ment, concluding that the plain language of that statute, which per-
            mitted the CDC to take measures that “directly relate to prevent-
            ing the interstate spread of disease by identifying, isolating, and de-
            stroying the disease itself” did not authorize the CDC to impose
            the eviction moratorium. Id. at 2488. It explained that the “down-
            stream connection between eviction and the interstate spread of
            disease is markedly different from the direct targeting of disease
            that characterizes the measures identified in the statute.” Id.
                   We are not persuaded that the Court’s order in Alabama As-
            sociation of Realtors sheds any light here. As an initial matter, in
            that case the Court was considering whether a different statutory
            scheme authorized the CDC to impose a nationwide eviction mor-
            atorium. Nothing in that case bore on whether the Secretary was
            authorized to require health care workers at covered facilities to be
            vaccinated to protect patient health and safety. Even more im-
            portantly, here, both the interim rule and the authorizing statutes
            are similar. They both directly relate to efforts to prevent the
            spread of disease at facilities treating Medicare or Medicaid patients
            to protect the health and safety of those patients.
                   2. Florida Failed to Demonstrate That It Is Likely to Suc-
                      ceed in Showing That the Secretary Was Not Permitted
                      to Bypass the Notice-and-Comment Requirement.
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                   The APA also requires a reviewing court to “hold unlawful
            and set aside agency action . . . found to be . . . without observance
            of procedure required by law.” 5 U.S.C. § 706(2)(D). Florida argues
            that the interim rule should be set aside because the Secretary failed
            to comply with the notice-and-comment requirement. But the no-
            tice-and-comment requirement does not apply “when the agency
            for good cause finds (and incorporates the finding and a brief state-
            ment of reasons therefor in the rules issued) that notice and public
            procedure thereon are impracticable, unnecessary, or contrary to
            the public interest.” 5 U.S.C. § 553(b). We conclude that Florida has
            not established a substantial likelihood that it will succeed on ap-
            peal in demonstrating that the district court abused its discretion
            when it rejected Florida’s argument that the Secretary failed to fol-
            low proper procedures.
                    In the interim rule, the Secretary provided a detailed expla-
            nation for why there was good cause for dispensing with the no-
            tice-and-comment requirement. The Secretary discussed the ur-
            gency presented by the ongoing pandemic, the outbreaks associ-
            ated with the Delta variant, and the oncoming influenza season. 86
            Fed. Reg. at 61,556–59, 61,583–84. Given these circumstances, the
            Secretary determined, a further delay “would endanger the health
            and safety of additional patients and be contrary to the public inter-
            est.” Id. at 61,584; see id. at 61,612 (estimating that “total lives saved
            under this rule may well reach several hundred a month”). We
            agree with the district court that the Secretary set forth a sufficient
            basis to dispense with the notice-and-comment requirement. See
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            Sorenson Commc’ns Inc. v. F.C.C., 755 F.3d 702, 706 (D.C. Cir.
            2014) (“In the past we have approved an agency’s decision to by-
            pass notice and comment where delay would imminently threaten
            life or physical property”).
                    Florida says that the district court erred because “after al-
            most two years, COVID-19 is a persistent feature of life and cannot
            itself constitute good cause” and that to conclude otherwise would
            “effectively repeal notice-and-comment requirements for the dura-
            tion of the pandemic.” Mot. for Injunction Pending Appeal at 11. 2
            But recognizing that good cause existed in this case does not mean
            that the COVID-19 pandemic always will justify an agency’s by-
            passing the notice-and-comment process. In this case, the Secretary
            identified specific reasons why in the environment of healthcare


            2 The dissent, like Florida, argues that the district court erred in concluding
            that good cause existed because the Secretary waited until vaccines had been
            available to healthcare workers for over a year before adopting the interim
            rule. We are not convinced that this is a case where the Secretary waited so
            long to issue the interim rule that he cannot rely on the good-cause exception.
            This argument ignores that when the vaccines were originally made available,
            the Food and Drug Administration (“FDA”) approved them under only an
            emergency use authorization. The FDA gave final approval to the first vaccine
            late August. It was within the Secretary’s discretion to wait for approval, indi-
            cating that the vaccines were safe and effective before requiring health care
            employees to receive them. Rather than show a lack of good cause, this fact
            demonstrates appropriate caution and thought on the part of the Secretary.
            See 86 Fed. Reg. at 61,584 (noting that “[h]ealthcare workers whose hesitancy
            was related to [the emergency use authorization] status now have a fully li-
            censed COVID-19 vaccination option”).
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            facilities that provide care to patients covered by Medicare or Med-
            icaid the ongoing pandemic constituted good cause for dispensing
            with the usual notice-and-comment requirements. 3
                    3. Florida Failed to Demonstrate That Is Likely to Succeed
                       in Showing that the Interim Rule is Arbitrary and Capri-
                       cious.
                   Florida argues that the interim rule is arbitrary and capri-
            cious. The arbitrary and capricious standard is “exceedingly defer-
            ential.” Miccosukee Tribe of Indians of Fla. v. United States,
            566 F.3d 1257, 1264 (11th Cir. 2009). A court is not permitted to
            substitute its judgment for the agency’s “as long as [the agency’s]
            conclusions are rational.” Id. A decision is arbitrary and capricious
            only if the factors the agency relied on are not what Congress
            would intend, if the agency “entirely failed to consider an im-
            portant aspect of the problem,” if the agency offered an explanation
            counter to the evidence before the agency, or if the agency action

            3 Florida also argues that the district court erred because a separate federal
            statute required the Secretary to consult with States before issuing the interim
            rule. In addition to the APA’s notice-and-comment requirement, federal law
            imposes another requirement before the Secretary may issue a new rule: “the
            Secretary must consult with appropriate State agencies” when carrying out
            functions “relating to determination of conditions of participation by provid-
            ers of services.” 42 U.S.C. § 1395z. Florida has not shown that the district court
            erred when it concluded that the Secretary satisfied the consultation require-
            ment because States will have the opportunity to consult during the ongoing
            notice-and-comment period, reasoning that the statute imposed “no temporal
            requirement for the necessary consultation to occur before an interim rule is
            issued.” Doc. 18 at 10.
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            “is so implausible that it could not be ascribed to a difference in
            view or the product of agency expertise.” Id. (internal quotation
            marks omitted).
                   Because, as shown above, ample evidence supports the Sec-
            retary’s determination that facility staff vaccination will provide
            important protection for patients, we cannot say that the district
            court erred in concluding that the interim rule was not arbitrary or
            capricious.
                    Florida raises a variety of arguments about why the agency
            should have reached the opposite conclusion and determined that
            the Secretary’s decision to impose a vaccine-mandate requirement
            for health care workers was irrational. Florida argues that it was
            arbitrary and capricious for the United States to impose a vaccine
            mandate instead of requiring that unvaccinated employees rou-
            tinely be tested or exempting from vaccination individuals who
            have natural immunity from a previous COVID-19 infection. Flor-
            ida essentially seeks to substitute its views on epidemiology for the
            Secretary’s judgment about the best way to protect the public from
            infection. But “[w]e are not authorized to substitute our judgment
            for the agency’s as long as its conclusions are rational.” Miccosukee
            Tribe, 566 F.3d at 1264. Even if we were to agree with Florida that
            these other options were preferable to the vaccine mandate the
            Secretary imposed, this would not come close to showing that the
            district court erred in concluding that the Secretary’s decision was
            not arbitrary or capricious.
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                   Florida also argues that the Secretary failed to adequately
            consider the risk that the interim rule will cause unvaccinated
            workers to flee the industry rather than submit to vaccination. We
            disagree that the Secretary failed to consider this risk. Rather, the
            Secretary addressed it when he discussed evidence showing that
            when large hospital systems and other health care employers im-
            posed vaccine mandates, workers responded to the mandates by
            getting vaccinated, not leaving their jobs. See 86 Fed. Reg. at
            61,569.
                   After considering all of Florida’s arguments, we see no sub-
            stantial likelihood that it will succeed in establishing that the district
            court abused its discretion when it denied the States’ motion for a
            preliminary injunction.
            E.     Florida Failed to Establish That It Will Face Irreparable
                   Injury Absent an Injunction.

                   Florida also failed to establish the second “most critical” fac-
            tor, Nken, 556 U.S. at 434, that it will face an irreparable injury if
            we do not enter an injunction pending appeal. Importantly, the
            possibility of an irreparable injury is not enough. See Winter v.
            NRDC, 555 U.S. 7, 22 (2008) (explaining that issuing a preliminary
            injunction “based only on a possibility of irreparable harm” would
            be “inconsistent” with treating a preliminary injunction as a an “ex-
            traordinary remedy”).
                   Florida argues that it faces irreparable injury from the in-
            terim rule because by preempting contradictory state law, the rule
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            intrudes on Florida’s sovereign authority to enforce its own law
            barring public and private employers from imposing vaccine man-
            dates. But it is black-letter law that the federal government does
            not “invade[]” areas of state sovereignty “simply because it exer-
            cises its authority” in a way that preempts conflicting state laws.
            Hodel v. Va. Surface Mining & Reclamation Ass’n, 452 U.S. 264,
            291 (1981) (rejecting argument that Congress invaded state sover-
            eignty simply because it exercised its authority in a manner that
            “displaces the States’ exercise of their police powers”). 4 Here, be-
            cause the Secretary had the authority to issue the interim rule and
            federal law preempts conflicting state law, we cannot say that Flor-
            ida faces an irreparable injury. Indeed, to conclude otherwise
            would mean that a state would suffer irreparable injury from all
            law federal laws with preemptive effect. Florida cites no cases es-
            tablishing such a broad standard. 5
            Florida also argues that it established irreparable injury because the
            interim rule’s mandate threatens “to deprive Florida of vital medi-
            cal staff, exacerbating an already critical healthcare-staffing short-
            age.” Mot. for Injunction Pending Appeal at 18. Florida predicts


            4If the Secretary lacked the authority to issue the interim rule, then Florida
            might be able to establish irreparable injury.
            5 The district court also correctly pointed out that Florida enacted its statute
            after the Secretary issued the interim rule. The district court found that this
            timing “suggest[ed] an attempt to alter the status quo by creating a self-in-
            flicted irreparable sovereign injury after the fact.” Doc. 18 at 7 (internal quota-
            tion marks omitted).
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            that the mandate will cause workers in Florida to quit their jobs
            rather than be vaccinated. But the district court found Florida’s af-
            fidavits predicting such new staffing shortages as a result of the vac-
            cine mandate as “speculative” and “conclusory.” Doc. 6 at 8. Nota-
            bly, Florida does not explain why the district court’s findings were
            erroneous.
                    Despite Florida’s failure to address the district court’s find-
            ings, the dissent, relying on these declarations, concludes that Flor-
            ida faces irreparable harm because State agencies would lose so
            many employees at state-operated facilities that the agencies would
            experience severe staffing shortages and a disruption in, and reduc-
            tions to, the quality of care that patients received at facilities. [See
            Dissent at 45.] But we are not persuaded that Florida came close to
            carrying its burden of establishing that such resignations would oc-
            cur. Some of Florida’s declarations state that “up to” certain num-
            bers of employees “may” resign if required to be vaccinated. Doc.
            2-3 at 5 (affidavit from Department of Health employees); see Doc.
            2-6 at 5 (similar affidavit saying “it is possible” that employees for
            the Agency for Persons with Disabilities would resign). Other dec-
            larations say nothing more than that “some employees” may resign
            rather than be vaccinated. See also Doc. 2-2 at 4 (predicting that
            “some employees” of the Department of Children and Families
            would resign); Doc. 2-4 at 5 (same for employees of Florida Depart-
            ment of Correction); 2-5 at 4 (same for employees of the Depart-
            ment of Veterans’ Affairs). This testimony is, as the district court
            found, entirely speculative; none of it indicates with any degree of
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            certainty whatsoever that these employees will resign. In crediting
            this evidence, the dissent never grapples with the evidence show-
            ing that when health care workers were faced with a vaccine man-
            date going into effect, “very few workers” actually quit their jobs
            rather than be vaccinated, as found by the Secretary. See 86 Fed.
            Reg. at 61,569. Florida has thus failed to carry its burden of showing
            an irreparable injury is likely. 6
                   Finally, Florida claims that it will suffer an irreparable harm
            “as parens patriae for the many Floridians who work in healthcare
            and do not wish to receive a vaccine.” Mot. for Injunction Pending
            Appeal at 19. But we agree with the district court that Florida does
            not face an irreparable injury if employees who choose to work in
            a federally funded healthcare facility are forced to abide by the rules
            that govern the administration of that federal program. See Com-
            monwealth of Mass. v. Mellon, 262 U.S. 447, 485–86 (1923) (“It can-
            not be conceded that a state, as parens patriae, may institute judi-
            cial proceedings to protect citizens of the United States from the
            operation of the statutes thereof.”)




            6 Likewise, we are not persuaded that Florida has carried its burden of showing

            that, absent an injunction, it will suffer an economic injury that could not be
            redressed if the interim rule turns out to be invalid. See Ne. Fla. Chapter of
            Ass’n of Gen. Contractors v. City of Jacksonville, 896 F.2d 1283, 1285 (11th
            Cir. 1990) (recognizing the “possibility that adequate compensatory or other
            corrective relief will be available at a later date” weighs “heavily against a
            claim of irreparable harm”).
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            F.      Florida Failed to Establish that the Remaining Factors
                    Support an Injunction.

                   The last two requirements for a preliminary injunction in-
            volve a balancing of the equities between the parties and the public.
            Where the government is the party opposing the preliminary in-
            junction, its interest and harm—the third and fourth elements—
            merge with the public interest. Swain v. Junior, 958 F.3d 1081, 1091
            (11th Cir. 2020).
                   Imposing an injunction to bar enforcement of the interim
            rule would harm the public interest in slowing the spread of
            COVID-19 and protecting the safety of Medicare and Medicaid pa-
            tients and staff. And this interest is particularly compelling within
            the setting of the healthcare facilities at issue, where the population
            of patients covered by Medicare and Medicaid is more likely than
            the general population to experience severe complications if they
            contract COVID-19. Indeed, the last thing patients seeking medical
            help (and their families and friends who love them) should have to
            endure is the infliction of a potentially deadly virus on them by
            those who are supposed to be taking care of them, when it could
            have been prevented by their caretakers’ obtaining of an FDA-
            approved vaccination.7


            7 Although the dissent does not dispute that the “public has an interest in stop-
            ping the spread of COVID-19,” our dissenting colleague concludes that the
            equities weigh in favor of a stay because of “uncertainties” related to the on-
            going pandemic. Dissent at 48 (internal quotation marks omitted). The dissent
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            CONCLUSION
                   For the reasons set forth above, we DENY Florida’s motion
            for an injunction pending appeal.




            points to the recent emergence of the Omicron variant and speculates that
            currently available vaccines may “offer diminished protection” against this
            variant. Id. at 48 n.7. As an initial matter, this is speculation; the dissent cites
            nothing to support its assertion about the effectiveness of vaccines against the
            Omicron variant. More fundamentally, though, the dissent’s position is flawed
            because taken to its logical end, it would mean that there would never be a
            public interest in the federal government’s taking proactive steps to protect
            the public from the COVID-19 virus—or any other deadly virus—because of
            the possibility, however remote, that the virus would mutate in the future.
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            21-14098             Judge Lagoa, Dissenting                       1

            LAGOA, Circuit Judge, dissenting:
                   I dissent from the panel’s decision to deny the State of Flor-
            ida’s motion for an injunction pending its appeal of the district
            court’s order denying the State’s motion for preliminary injunc-
            tion. The State seeks to enjoin an interim final rule of the Centers
            for Medicare and Medicaid Services (“CMS”) mandating COVID-
            19 vaccinations for covered staff in most facilities receiving Medi-
            care and Medicaid funding (the “mandate”). See Medicare and
            Medicaid Programs; Omnibus COVID-19 Health Care Staff Vac-
            cination, 86 Fed. Reg. 61,555 (Nov. 5, 2021).
                   The majority devotes a substantial amount of space to the
            issue of nationwide injunctions but does not provide much analysis
            of the issues actually presented to us by the State of Florida’s mo-
            tion for an injunction pending appeal. For the reasons explained
            below, I would grant the State of Florida’s motion.
                                   I.     BACKGROUND
                            A. November 5, 2021, CMS Mandate
                    CMS primarily administers Medicare, see Cape Cod Hosp.
            v. Sebelius, 630 F.3d 203, 205 (D.C. Cir. 2011), and partners with
            states to administer Medicaid, see Douglas v. Indep. Living Ctr. of
            S. Cal., Inc., 565 U.S. 606, 610 (2012). On September 9, 2021, the
            President announced his intention to promulgate federal vaccine
            mandates. Nearly two months later, on November 5, 2021, CMS
            issued an interim final rule entitled “Medicare and Medicaid Pro-
            grams; Omnibus COVID-19 Health Care Staff Vaccination,” which
            “revises the requirements that most Medicare- and Medicaid-
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            certified providers and suppliers must meet to participate in the
            Medicare and Medicaid programs” and “establish[es] COVID-19
            vaccination requirements for staff at the included Medicare- and
            Medicaid-certified providers and suppliers.” 86 Fed. Reg. at 61,555;
            see also id. at 61,556 (listing the types of “providers and suppliers”
            covered by the mandate). The category of individuals who are con-
            sidered covered staff under the interim final rule is extremely
            broad—the mandate applies to a wide range of people including
            employees, trainees, students, volunteers, and contractors who
            provide any care, treatment, or other services for the facility. Id. at
            61,570.
                    The following fifteen categories of Medicare and Medicaid
            certified providers and suppliers are covered under the mandate:
            (1) Ambulatory Surgical Centers; (2) Hospices; (3) Psychiatric resi-
            dential treatment facilities: (4) Programs of All-Inclusive Care for
            the Elderly; (5) Hospitals (acute care hospitals, psychiatric hospi-
            tals, long term care hospitals, children’s hospitals, hospital swing
            beds, transplant centers, cancer hospitals, and rehabilitation hospi-
            tals); (6) Long Term Care Facilities (i.e., nursing homes); (7) Inter-
            mediate Care Facilities for Individuals with Intellectual Disabilities;
            (8) Home Health Agencies; (9) Comprehensive Outpatient Reha-
            bilitation Facilities; (10) Critical Access Hospitals; (11) Clinics, reha-
            bilitation agencies, and public health agencies as providers of out-
            patient physical therapy and speech language pathology services;
            (12) Community Mental Health Centers; (13) Home Infusion Ther-
            apy suppliers; (14) Rural Health Clinics and Federally Qualified
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            Health Centers; and (15) End Stage Renal Disease Facilities. Id. at
            61,556.
                    The mandate requires all covered staff to receive the initial
            dose of a COVID-19 vaccine by December 6, 2021, and to complete
            their “primary vaccination series” by January 4, 2022. Id. at 61,555,
            61,573. Covered providers and suppliers that fail to comply with
            the mandate “may be subject to enforcement remedies,” including
            “civil money penalties, denial of payment for new admissions, or
            termination of the Medicare/Medicaid provider agreement.” Id. at
            61,574. The mandate also provides for “appropriate accommoda-
            tions, to the extent required by Federal law, for employees who
            request and receive exemption from vaccination because of a disa-
            bility, medical condition, or sincerely held religious belief, practice,
            or observance.” Id. at 61,569.
                   CMS stated that it was issuing the mandate based on its
            “broad statutory authority to establish health and safety regula-
            tions.” Id. at 61,560. Specifically, CMA claimed its authority was
            primarily based on
                   sections 1102 and 1871 of the Social Security Act (the
                   Act)[, which] grant[ed] the Secretary of Health and
                   Human Services authority to make and publish such
                   rules and regulations, not inconsistent with the Act,
                   as may be necessary to the efficient administration of
                   the functions with which the Secretary is charged un-
                   der this Act and as may be necessary to carry out the
                   administration of the insurance programs under the
                   Act.
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            Id.; accord id. at 61,567; see 42 U.S.C. §§ 1302, 1395hh (codifying
            sections 1102 and 1871 of the Social Security Act). CMS also ex-
            plained that, in its “discussions of the provider- and supplier-spe-
            cific provisions” in the mandate, it “set out the specific authorities
            for each provider or supplier type.” See 86 Fed. Reg. at 61,560,
            61,616–27. CMS noted there were “concerns about health care
            workers choosing to leave their jobs rather than be vaccinated,”
            but concluded there was “insufficient evidence to quantify and
            compare adverse impacts on patient and resident care associated
            with temporary staffing losses due to mandates and absences due
            to quarantine for known COVID-19 exposures and illness.” Id. at
            61,569. The mandate goes into effect on December 6, 2021—one
            month after its issuance.
                   In issuing the mandate, CMS waived the notice-and-com-
            ment period under the Administrative Procedures Act (“APA”) on
            the basis of “good cause.” See id. at 61,583–86; 5 U.S.C. § 553(b)(B).
            CMS found the APA’s normal notice-and-comment procedures to
            be “impracticable and contrary to the public interest” based on “a
            combination of factors, including but not limited to failure to
            achieve sufficiently high levels of vaccination based on voluntary
            efforts and patchwork requirements, potential harm to patients
            from unvaccinated health-care workers, and continuing strain on
            the health care system and known efficacy and safety of available
            vaccines.” 86 Fed. Reg. at 61,586. CMS also stated the mandate
            preempted state and local laws as applied to Medicare- and Medi-
            caid-certified providers and suppliers. Id. at 61,568.
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                       B. The Proceedings Before the District Court
                   On November 17, 2021, the State filed a complaint and a
            motion for a temporary restraining order (“TRO”) or preliminary
            injunction as to the Mandate. In support of its motion, the State
            attached six sworn affidavits from the following state agency rep-
            resentatives: (1) Kimberly Smoak, the Deputy Secretary for Health
            Quality Assurance (“HQA”) at the Florida Agency for Health Care
            Administration (“AHCA”); (2) Erica Thomas, the Assistant Secre-
            tary for Substance Abuse and Mental Health at the Florida Depart-
            ment of Children and Families (“DCF”); (3) Mark Lander, the In-
            terim Deputy Secretary for County Health Systems at the Florida
            Department of Health (“DOH”); (4) Carl Kirkland Jr., the Deputy
            Director of Institutional Operations for the Florida Department of
            Corrections (“FDC”); (5) Robert Asztalos, the Deputy Executive
            Director of the Florida Department of Veterans’ Affairs (“FDVA”);
            and (6) Tom Rice, the Deputy Executive Director for Programs at
            the Florida Agency for Persons with Disabilities (“APD”). The fol-
            lowing unrebutted evidence was presented to the district court:
                1. Kimberly Smoak, Deputy Secretary for HQA at AHCA
                   Smoak attested to the following in her affidavit. AHCA, “a
            department of the Executive Branch of the government of the State
            of Florida,” is “the chief health policy and planning entity for the
            state” and “charged with health facility licensure, inspection and
            regulatory enforcement and the administration of the Medicaid
            program.” Doc. 2-1 at 2. On behalf of CMS, AHCA’s division of
            HQA conducts surveys of healthcare facilities to determine
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            whether they are in compliance with federal law governing Medi-
            care providers. Id. at 3. When serious violations are found or re-
            main uncorrected, AHCA sends that information to CMS, which
            “utilizes a range of federal enforcement mechanisms from fines to
            termination of facilities’ Medicare provider agreements” against
            the noncompliant facilities. Id. at 3–4. If CMS terminates a facility’s
            Medicare agreement, then AHCA must terminate the facility’s
            Medicaid provider agreement as well. Id. at 4. The mandate re-
            quires state surveyors, such as AHCA, to determine if providers
            and suppliers are compliant with the mandate’s requirements. Id.
            AHCA’s HQA receives federal funding from CMS to conduct fed-
            eral survey activity, and “[i]f AHCA were to refuse to enforce the
            mandate and withdraw from participation in its agreement with
            [CMS],” HQA would likely lose all federal funds relating to survey-
            ing and certification. Id. Additionally, the federal government
            could terminate the agreement in whole or in part or limit the
            scope of the parties’ agreement, which “would result in a commen-
            surate loss of federal funding.” Id.
                2. Erica Thomas, Assistant Secretary for Substance Abuse and
                                    Mental Health at DCF
                  Thomas attested to the following. “DCF is the designated
            mental health authority for the State,” exercising “executive and
            administrative supervision over all psychiatric residential treat-
            ment facilities in collaboration with [AHCA].” Doc. 2-2 at 2. “Fail-
            ure on the part of a psychiatric residential treatment facility to com-
            ply with the mandate can subject the facility to enforcement
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            remedies imposed by CMS and other remedies available under
            Federal law,” e.g., “civil money penalties, denial of payment for
            new admissions, or termination of the Medicare/Medicaid pro-
            vider agreement.” Id. at 3. DCF operates six psychiatric residential
            treatment facilities and employs approximately 3,013 employees in
            those facilities. Id. “DCF currently maintains staffing shortages at
            all of [its] facilities” based on “wage pressure from an improving
            job market and larger trends in healthcare,” including “statewide
            shortages of nurses and psychiatric providers.” Id. This was espe-
            cially true for rural areas, where “there is limited workforce and it
            is difficult to find qualified employees.” Id. Overall, DCF is “expe-
            riencing difficulty recruiting and retaining nursing staff due to com-
            peting wage and benefit pressure in the private market,” with a
            turnover rate exceeding 20%, and DCF’s facilities are “currently ex-
            periencing a staffing crisis.” Id. at 3–4. Because some of DCF’s
            unvaccinated employees would refuse vaccination, the mandate
            “will further amplify the staffing shortage and the facilities will not
            be able to provide effective treatment for the patients or a safe en-
            vironment for both patients and staff.” Id. at 4. Additionally, the
            reduction in staff at Florida’s state mental health treatment facilities
            would result in longer waiting periods in jail for forensic patients
            seeking treatment who are charged with felony offenses and deter-
            mined to be not guilty by reason of insanity or incompetency. Id.
            DCF would lose approximately $6.7 million in funding, which is
            “critical to support patient services and treatment,” if it does not
            comply with the mandate. Id.
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                3. Mark Lander, Interim Deputy Secretary for County Health
                                       Systems at DOH
                    Lander attested as to the following. DOH is “responsible for
            the state’s public health system, providing public health services
            through its County Health Departments.” Doc. 2-3 at 2. DOH
            operates “Federally Qualified Health Centers” (“FQHC”), includ-
            ing FQHCs in Bradford, Union, and Walton Counties, in conjunc-
            tion with its County Health Departments. Id. at 3. As to the
            FQHCs in Bradford and Union Counties, “up to 12 employees may
            be lost to employment” as a result of the mandate. Id. Most of
            those employees “provide services that impact direct patient care,”
            and “[i]t would take at least 90 days to hire employees to replace
            them in the current labor market.” Id. “The anticipated vacancy
            time could extend several months creating a domino effect that
            would increase clinical wait times and loss of services,” “dental and
            prenatal services may be delayed,” and the delay in services would
            result in “a negative impact for clients served by” those two
            FQHCs. Id. at 3-4. Noncompliance with the mandate would result
            in a projected loss of Medicare and Medicaid revenue to the Brad-
            ford and Union FQHCs, and the lack of funding would result in a
            “workforce reduction/separation,” “an approximate 50% reduc-
            tion in services and access,” and a negative impact to patient access.
            Id. at 4.
                   As to the FQHC in Walton County, that facility would lose
            “up to 57 employees” upon implementation of the mandate, which
            “could cause a serious disruption in services” as most of those
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            employees provide direct patient care and hiring replacements
            “would take at least 90 days” given the current labor market. Id. at
            5. “Approximately 70% of the clinical licensed practical nurses are
            unvaccinated” in the FQHC in Walton County, and the FQHC
            could lose “frontline employees, including clerical and medical rec-
            ords support as well as medical providers.” Id. This would result
            in clinicians being “required to work up their own clients,” slowing
            down the process and reducing availability of appointments. Id.
            Additionally, “with the loss of 57 employees, services will be dis-
            rupted (cancelled or significantly delayed),” which would result in
            “a negative impact for clients.” Id. Registered nurses and licensed
            practical nurses positions were “difficult” to fill based on the de-
            mand in Florida, and “[t]he months taken to hire and train these
            positions would expend valuable time that is needed to treat pa-
            tients who have left critical chronic illnesses go unchecked during
            the pandemic.” Id. And noncompliance with the mandate by the
            FQHC in Walton County would result in the loss of Medicare and
            Medicaid revenue, which in turn would lead to a reduction of staff
            and patient services. Id. at 6.
             4. Carl Kirkland Jr., Deputy Director of Institutional Operations
                                          for FDC
                   Kirkland attested to the following. FDC is “responsible for
            the supervisory and protective care, custody, and control of the in-
            mates, buildings, grounds, property, and all other matters pertain-
            ing to the correctional and other facilities and programs for the im-
            prisonment, correction, and rehabilitation of adult offenders.”
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            Doc. 2-4 at 2. FDC’s responsibilities include transporting inmates
            who require medical care that cannot be provided within FDC’s
            prison “to outside hospitals where they received medical treatment
            and are thereafter transported back to prison.” Id. at 3. FDC has
            agreements with two hospitals—Jacksonville Memorial Hospital
            and North Shore Hospital in Miami—“that have a dedicated, se-
            cure unit within the hospital for care of inmates,” and “FDC pro-
            vides a sufficient number of correctional officers to supervise
            [those] inmates.” Id. FDC also has a medical vendor, Centurion,
            which contracts “with at least 57 hospitals throughout the state to
            provide medical services to inmates.” Id. FDC has experienced a
            staff shortage over the past few years, as shortages “have greatly
            increased since the outbreak of COVID-19,” and “[t]he mandate
            would undoubtedly exacerbate this staff shortage issue.” Id. at 4.
                    As to Jacksonville Memorial Hospital, the Reception and
            Medical Center, which was FDC’s institution responsible for secu-
            rity staffing at that hospital, “had 31 vacancies” on the roster—
            equivalent to an “absence of 35.63% of FDC’s required uniformed
            staff.” Id. Given these vacancies, “FDC’s ability to provide care in
            line with the Eighth Amendment” was threatened, and the man-
            date would “further exacerbate[]” the issue, as some of its staff at
            Jacksonville Memorial Hospital would quit or request to work at
            other facilities to avoid the mandate. Id. at 5. “This, in turn, would
            limit the pool of available replacements/supplemental staff to staff
            the hospital,” resulting “in a delay of care, or worse,” and hindering
            “FDC’s constitutional obligations to ensure minimally adequate
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            medical care.” Id. As to North Shore Hospital in Miami, it would
            experience negative impacts similar to those affecting Jacksonville
            Memorial Hospital. Id. And as to Centurion, FDC’s medical ven-
            dor which contracts with “at least 57 hospitals throughout [Florida]
            to provide medical services to inmates,” “[m]andating vaccines for
            FDC staff across [the State of Florida] who would potentially be
            responsible for transport of inmates to hospitals or who would re-
            main with inmates at the hospital, would pose a significant chal-
            lenge to an already understaffed FDC.” Id. The requirement
            would “likely result in delay of care, or worse.” Id.
            5. Robert Asztalos, the Deputy Executive Director of the FDVA
                   Asztalos attested to the following. FDVA “advocate[s] for
            Florida veterans and link[s] them to services, benefits, and sup-
            port.” Doc. 2-5 at 2. FDVA operates six “State Veterans’ Nursing
            Homes” (“SVNH”) throughout Florida. Id. Each of the SVNHs
            “have struggled with staffing shortages, especially direct care staff,”
            and the pandemic had exacerbated the shortage. Id. at 4. FDVA
            may lose federal funding from CMS if it does not comply with the
            mandate. Id. If FDVA did comply with the mandate, “some em-
            ployees may leave FDVA employment,” and, consequently,
            “FDVA would need to increase [its] use of nursing staffing agencies
            to cover any staff shortages,” increasing its operating costs. Id. If
            a substantial number of employees leave FDVA, it would consider
            reducing occupancy rates in its SNVHs, thereby decreasing the
            number of veterans admitted to its facilities. Id.
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              6. Tom Rice, the Deputy Executive Director for Programs at
                                         APD
                   Rice attested to the following. APD is “responsible for coor-
            dinating and providing services to Floridians with intellectual and
            developmental disabilities, including the operation of state-oper-
            ated institutional programs and the programmatic management of
            Medicaid waivers established to provide home and community
            based services” to those individuals. Doc. 2-6 at 2. APD operates
            two “Intermediate Care Facilities for Individuals with Intellectual
            Disabilities” and “employs 1,092 direct care staff, registered nurses,
            food service, maintenance, administrative and management staff,”
            who would be subject to the mandate, at those facilities. Id. at 3–
            4.
                    The pandemic “exacerbated existing staffing challenges” at
            APD’s intermediate care facilities, with “approximately 32.34% of
            positions” being vacant despite ongoing recruiting and retention
            efforts. Id. at 5. And the mandate would “compound these existing
            recruiting and retention efforts.” Some of APD’s employees have
            “chosen not to be vaccinated,” and “[b]ased on the responses to a
            survey conducted . . . and the indications of staff,” APD would “lose
            about 10% of [its] total filled positions on average at both facilities,
            due to the mandate.” Id. For example, at one of its facilities, “194
            out of 599 filled positions are not vaccinated,” and “close to 95% of
            the 194 could resign.” Id. “Widespread resignations of existing
            staff, coupled with the inability to replace such employees, would
            most importantly place the health and safety of residents at risk, as
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            well as risk coming out of compliance with [required] staffing ra-
            tios.” Id. Staffing reassignments to ameliorate the resulting staffing
            shortage would “further increas[e] the risk of burn out and resigna-
            tions [of those staff members] due to more favorable employment
            or low morale.” Id. at 6. These staffing issues would also “severely
            impact[]” the routines of the residents at the intermediate care fa-
            cilities, “likely leading to distress and negative health outcomes.”
            Id. Additionally, failure to comply with the mandate could result
            in loss of federal funding via the Medicare and Medicaid programs.
            Id. at 5–6.
                    APD also operates two “forensic facilities,” and its employ-
            ees at those facilities will likely be subject to the mandate as the
            facilities are located “on the grounds of other licensed facilities di-
            rectly subject to the [mandate].” Id. at 6–7. APD’s forensic facilities
            suffer from the same personnel issues as its intermediate care facil-
            ities. Id. at 7.
                                            ****
                   The district court denied the State’s motion on November
            20, 2021, concluding that the State failed to make an adequate
            showing that the State would suffer irreparable injury harm with-
            out a TRO or preliminary injunction prior to December 6, 2021.
            The district court found that the agency representatives’ state-
            ments in their affidavits were merely “opinions” without “support-
            ing factual evidence” such that they were “speculative and may be
            disregarded as conclusory.” It further found that statements re-
            garding employees’ intent to resign if required to be vaccinated
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            were “hearsay.” As to the agencies losing federal funding, which
            the State asserted would result in loss of services and patient care
            as well as longer waits and drives for patients, the district court con-
            cluded that any economic loss of funding was not irreparable, as
            the funding could be remedied and restored in the ordinary course
            of litigation. The district court also found that there was no evi-
            dence suggesting that the anticipated loss of federal funding from
            noncompliance would immediately occur on December 6, 2021,
            “because the asserted loss of staff is speculative, the affidavits fail
            take to into account any impact from the availability of the exemp-
            tion process provided in the [mandate], and even if noncompliance
            occurs, any potential termination of funding would not occur on
            December 6.” Finally, addressing the State’s argument that there
            was irreparable harm to its own sovereignty if its state laws and
            policies were disregarded, the court noted that Florida had refer-
            enced no law or policy, as the Florida Legislature was only contem-
            plating legislation to prohibit vaccine mandates.
                    On November 24, 2021, the State filed a notice of appeal
            with this Court, as well as a motion for an injunction pending ap-
            peal in the district court. On November 27, 2021, the district court
            denied the motion for an injunction pending appeal but sua sponte
            reinstated the State’s request for preliminary injunction, explaining
            that its November 20 order was only intended to address the State’s
            request for a TRO. The district court noted the State’s new argu-
            ment, i.e., that Florida had enacted a law on November 18, 2021,
            which prohibited private and public employer COVID-19
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            vaccination mandates, and that the mandate’s preemption of the
            state law demonstrated an irreparable sovereign injury because the
            mandate precludes the State from enforcing its own law and forces
            state agencies to choose between which law to follow and which
            to violate. See Fla. Stat. §§ 308.00317, 112.0441 (2021). The district
            court stated that it would consider the effect of the newly enacted
            law and scheduled an evidentiary hearing on the matter. The par-
            ties, however, filed a joint motion in the district court to waive
            briefing and the hearing, which the district court granted. The
            State then filed the instant motion for an injunction pending appeal
            with this Court.
                  On December 1, 2021, the district court denied the State’s
            request for a preliminary injunction to prevent implementation of
            the mandate and specifically addressed the State’s new law “in aid
            of the appeal.” 1 The district court noted that the State had exer-
            cised its sovereign lawmaking powers to broadly prohibit employ-
            ers from imposing COVID-19 vaccination mandates on their em-
            ployees, but that the mandate, by its terms, preempted Florida’s
            law with regard to covered healthcare staff in Medicare- or Medi-
            caid-participating facilities. Relying on Jacobson v. Massachusetts,




            1
             See United States v. Diveroli, 729 F.3d 1339, 1341 (11th Cir. 2013) (“When an
            appeal is filed, ‘the district court is divested of jurisdiction to take any action
            with regard to the matter except in aid of the appeal.’” (quoting Shewchun v.
            United States, 797 F.2d 941, 942 (11th Cir. 1986))).
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            197 U.S. 11 (1905), 2 the district court explained that, while the man-
            date had far-reaching impacts because many facilities accepted fed-
            eral funding under the Medicare and Medicaid programs, vaccina-
            tion mandates generally had not been found to be unlawful or un-
            constitutional. It also explained that the mandate provided medi-
            cal- and religious-related exemptions. As such, the district court
            found that the State did not have a parens patriae interest in shield-
            ing employees who choose to work in federally-funded healthcare
            facilities from rules governing the administration of the federal pro-
            gram.
                   The district court then turned to the State’s argument that
            the conflict between federal and state law would force state agen-
            cies to decide, by December 6, which law to follow. The district
            court explained that if there was no likelihood that the mandate
            would be found unlawful on the merits, the conflict of choice faced
            by the state agencies was eliminated. Turning to the success on the
            merits factor, the district court rejected all of the State’s arguments.
            As to the State’s consultation argument, the district court con-
            cluded that CMS’s interpretation of 42 U.S.C. § 1395z to have no
            temporal requirement for consulting with state agencies would be
            given Chevron3 deference. The district court also rejected the


            2 As discussed below, Jacobson addresses a state’s power to mandate vaccina-
            tion, not the federal government’s power to do so.
            3
                See Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842–
            44 (1984).
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            State’s notice-and-comment argument, stating that CMS’s “de-
            tailed” explanation in the mandate “based on the urgency pre-
            sented by the ongoing pandemic, the 2021 outbreaks associated
            with the Delta variant, and the oncoming influenza season” estab-
            lished “good cause” under § 553(b)(B) of the APA to waive the no-
            tice-and-comment procedures normally required.
                    The district court also rejected the State’s argument that the
            mandate was arbitrary and capricious due to CMS’s failure to con-
            sider less intrusive alternatives because CMS explained its reason-
            ing, discussed the considered alternatives, and explained why they
            were unworkable and because CMS’s policy choice between those
            alternatives was likely to be accorded deference. It found that the
            State, at this early stage, had failed to present evidence to show
            CMS’s decision ran counter to, or lacked a rational connection to,
            the factual evidence before the agency. The district court similarly
            rejected the State’s argument that CMS was unable to issue the
            mandate under 42 U.S.C. § 1395 because CMS was not regulating
            the practice of medicine, the healthcare that may be provided in
            facilities that accept federal funds, the manner in which medical
            services are provided, or the operation of the institution or its em-
            ployees. Rather, the district court explained that CMS is regulating
            “a federal program by requiring facilities that receive federal fund-
            ing to develop and implement policies and procedures to ensure
            the vaccination of covered healthcare workers and staff for the
            health and safety of patients within those facilities” and these re-
            quirements were not expressly foreclosed by the statute.
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                   The district court also found the State’s Spending Clause ar-
            gument was without merit. While the State asserted that any con-
            ditions on Medicare and Medicaid funding must have been dis-
            closed to it from the beginning, the district court stated it was “in-
            conceivable that every facet of [those] program[s] would have been
            known and agreed to from the beginning” and that the mandate
            was unambiguous and did not “present an immediate all or noth-
            ing penalty.” Thus, because the mandate was related to the safe
            and efficient administration of federal programs, did not alter or
            expand existing programs, and provided an array of penalties for
            noncompliance, the district court concluded there was little likeli-
            hood of success on the Spending Clause claim.
                     As to the final two factors for an injunction, the district court
            found there was a public safety interest—“the safety of Medicare
            and Medicaid patients and staff administering the program
            throughout this pandemic, . . . and the need to slow the spread of
            the virus, are greatly enhanced by virtue of the COVID-19 vac-
            cine”—that was “especially compelling within the context of
            healthcare facilities” and weighed heavily on the side of denying
            injunctive relief. The district court noted that the State had not
            denied the benefits of the vaccine nor any public health benefit to
            its citizens from enforcement of its new law prohibiting COVID-19
            vaccine mandates by employers. Thus, the district court concluded
            the balance of equities weighed against granting the injunction.
            Accordingly, while the State’s enactment of its law added a
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            sovereign interest to its analysis, the district court determined a
            preliminary injunction was not warranted on the record before it.
                                     II.     ANALYSIS
                    Pursuant to Federal Rule of Appellate Procedure 8(a)(2), a
            party may file a motion with the court of appeals seeking an injunc-
            tion pending appeal. Here, the State of Florida has appealed the
            district court’s decision denying its motion for a preliminary injunc-
            tion and now seeks to enjoin the CMS vaccine mandate during the
            pendency of its appeal. “[T]he traditional stay factors . . . govern a
            request for a stay pending judicial review.” Nken v. Holder, 556
            U.S. 418, 426 (2009). Thus, the party seeking an emergency stay or
            injunction pending appeal “must show: (1) a substantial likelihood
            that they will prevail on the merits of the appeal; (2) a substantial
            risk of irreparable injury to the intervenors unless the injunction is
            granted; (3) no substantial harm to other interested persons; and
            (4) no harm to the public interest.” Touchston v. McDermott, 234
            F.3d 1130, 1132 (11th Cir. 2000); accord Nken, 556 U.S. at 426.
            While no single factor is determinative, “[o]rdinarily the first factor
            is the most important.” Garcia-Mir v. Meese, 781 F.2d 1450, 1453
            (11th Cir. 1986). However, under our precedent, the movant need
            not always show that he probably will succeed on the merits of his
            appeal. Id. Instead, where the “balance of the equities weighs
            heavily in favor of granting the [injunction],” the movant need only
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            show a “substantial case on the merits.” Ruiz v. Estelle, 650 F.2d
            555, 565 (5th Cir. Unit A. 1981). 4
                   In its motion for an injunction pending appeal, the State con-
            tends that it has made a sufficient showing as to each of the factors
            for the entry of an injunction pending appeal. I agree that the State
            of Florida has satisfied its burden as to each factor and that each of
            these factors favors granting the injunction pending judicial re-
            view. I begin with the first factor: whether the State of Florida’s
            challenges to CMS’s vaccine mandate are substantially likely to suc-
            ceed on the merits of the appeal.
                     A. Substantial Likelihood of Success on the Merits
                    1. CMS’s statutory authority to issue the mandate.
                   In challenging CMS’s vaccine mandate, the State of Florida
            contends that Congress has not provided CMS the statutory au-
            thority to enact the mandate at issue here. Under the Administra-
            tive Procedure Act, we must “hold unlawful and set aside agency
            action . . . found to be . . . in excess of statutory . . . authority.” 5
            U.S.C. § 706(2)(C). It is well established that “an agency literally
            has no power to act, let alone pre-empt the validly enacted legisla-
            tion of a sovereign State, unless and until Congress confers power
            upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 357 (1986).



            4
             In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc),
            this Court adopted as binding precedent all decisions of the former Fifth Cir-
            cuit handed down prior to October 1, 1981.
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            CMS is part of the Executive Branch—specifically, the Department
            of Health and Human Services (“HHS”)—and CMS therefore must
            derive its regulatory powers from Congress. CMS claims it derived
            its purported authority to issue the mandate via the Social Security
            Act and CMS’s general authorization to administer Medicare and
            Medicaid, primarily invoking 42 U.S.C. §§ 1302 and 1395hh as the
            statutory authority. See 86 Fed. Reg. at 61,560, 61,567.
                    Congress gave the HHS Secretary the authority to “make
            and publish such rules and regulations . . . as may be necessary to
            the efficient administration of the functions” of Medicare and Med-
            icaid. See 42 U.S.C. § 1302(a); see also 42 U.S.C. § 1395hh(a). Be-
            low, the district court determined that:
                  This broad rulemaking authority is entitled to sub-
                  stantial deference, and “considerable weight” is given
                  to the agency’s “construction of a statute it is en-
                  trusted to administer.” Chevron, U.S.A., Inc. v. Nat.
                  Res. Def. Council, Inc., 467 U.S. 837, 842–44 (1984)
                  (stating where Congress has not spoken directly on an
                  issue but given an administrative agency the power to
                  administer a program, this power necessarily includes
                  the formation of policy and the making of rules to fill
                  any gap left by Congress).
                   But this determination is untenable. While Congress has au-
            thorized the Secretary of Health and Human Services general au-
            thority to issue regulations for the “administration” of Medicare
            and Medicaid and the “health and safety” of recipients, there is no
            dispute that there is no specific congressional authorization for the
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            mandate. See Ala. Ass’n of Realtors v. Dep’t of Health & Hum.
            Servs., 141 S. Ct. 2485, 2486 (2021) (“It would be one thing if Con-
            gress had specifically authorized the action that the CDC has taken.
            But that has not happened.”).
                      Contrary to the district court’s assertion, a federal agency
            cannot “bring about an enormous and transformative expansion
            in . . . regulatory authority without clear congressional authoriza-
            tion.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014). In-
            deed, the major questions doctrine instructs that courts “expect
            Congress to speak clearly if it wishes to assign to an agency deci-
            sions of vast ‘economic and political significance.’” Util. Air, 573
            U.S. at 324 (quoting FDA v. Brown & Williamson Tobacco Corp.,
            529 U.S. 120, 160 (2000)); accord Ala. Ass’n of Realtors, 141 S. Ct.
            2489 (relying on Utility Air); see also Whitman v. Am. Trucking
            Ass’ns, 531 U.S. 457, 468 (2001) (“Congress . . . does not, one might
            say, hide elephants in mouseholes.”); Brown & Williamson, 529
            U.S. at 160 (“[W]e are confident that Congress could not have in-
            tended to delegate a decision of such economic and political signif-
            icance to an agency in so cryptic a fashion.”). It is hard to imagine
            how a decision mandating vaccines for much of this nation’s
            healthcare workforce—regardless of whether they have contact
            with a patient—does not constitute an agency decision of vast eco-
            nomic and political significance.
                 The Fifth Circuit’s recent decision in BST Holdings, LLC v.
            OSHA, 17 F.4th 604 (5th Cir. 2021), is instructive. In BST Holdings,
            the Fifth Circuit addressed OSHA’s mandatory vaccination
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            requirement, which was issued on the same day as the CMS man-
            date. Id. at 609. The Fifth Circuit concluded that a vaccination
            mandate clearly implicated the type of significant economic and
            political considerations subject to the major questions doctrine. Id.
            at 617 (“The [m]andate derives its authority from an old statute
            employed in a novel manner, imposes nearly $3 billion in compli-
            ance costs, involves broad medical considerations that lie outside
            of OSHA’s core competencies, and purports to definitively resolve
            one of today’s most hotly debated political issues.” (footnote omit-
            ted)).
                    CMS has never before enforced a vaccination mandate, and
            CMS cannot point to clear statutory authorization from Congress
            for the mandate. Simply put, nothing in 42 U.S.C. §§ 1302 and
            1395hh indicates that Congress intended to assign CMS sweeping
            authority to impose a nationwide vaccine mandate—not only on
            healthcare workers providing direct patient care, but on all facility
            administrators and employees, trainees, students, volunteers, and
            third-party contractors who provide any care, treatment, or other
            services for the facilities falling under the mandate. Based on the
            major questions doctrine, the State of Florida has shown a substan-
            tial likelihood of success on the merits of its claim that Congress
            has not provided clear statutory authorization for the CMS man-
            date.
                   2. CMS’s Bypass of Notice and Comment Rulemaking
                   The APA requires a reviewing court to “hold unlawful and
            set aside agency action . . . found to be . . . without observance of
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            procedure required by law.” 5 U.S.C. § 706(2)(D). Such procedures
            include the notice and comment provisions of 5 U.S.C. § 553, which
            require agencies to provide notice of proposed rulemaking and an
            opportunity for interested parties to provide comments before
            promulgation of any rule. § 553(b)–(c). The State of Florida chal-
            lenges CMS’s vaccine mandate based on CMS’s failure to follow
            the notice and comment procedures.
                    The APA’s notice and comment requirements are not mere
            procedural niceties, but instead play an important role in our sys-
            tem of government. Providing notice and the opportunity for
            comment “reintroduce[s] public participation and fairness to af-
            fected parties after governmental authority has been delegated to
            unrepresentative agencies.” Batterton v. Marshall, 648 F.2d 694,
            703 (D.C. Cir. 1980); Dep’t of Homeland Sec. v. Regents of the
            Univ. of Cal., 140 S. Ct. 1891, 1929 n.13 (2020) (Thomas, J., concur-
            ring in the judgment in part and dissenting in part) (“[T]he notice
            and comment process at least attempts to provide a ‘surrogate po-
            litical process’ that takes some of the sting out of the inherently
            undemocratic and unaccountable rulemaking process.” (quoting
            Asimow, Interim-Final Rules: Making Haste Slowly, 51 Admin. L.
            Rev. 703, 708 (1999))).
                   Instead of following the notice and comment procedures,
            however, CMS attempts to invoke the “good cause” exception of 5
            U.S.C. § 553(b)(B). This exception excuses compliance with the no-
            tice and comment rulemaking requirements “when the agency for
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            good cause finds . . . that notice and public procedure thereon are
            impracticable, unnecessary, or contrary to the public interest.” Id.
                    The good cause exception should be read narrowly and ap-
            plied reluctantly. United States v. Dean, 604 F.3d 1275, 1279 (11th
            Cir. 2010); U.S. Steel Corp. v. EPA, 595 F.2d 207, 214 (5th Cir. 1979);
            Mack Trucks, Inc. v. U.S. EPA, 682 F.3d 87, 93 (D.C. Cir. 2012)
            (“We have repeatedly made clear that the good cause exception ‘is
            to be narrowly construed and only reluctantly countenanced.’”
            (quoting Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 754
            (D.C. Cir. 2001))). The majority accepts at face value CMS’s justi-
            fications for dispensing with notice and comment, which the dis-
            trict court summarized as including “the urgency presented by the
            ongoing pandemic, the outbreaks associated with the Delta vari-
            ant, and the oncoming influenza season,” as well as CMS’s deter-
            mination that further delay “would endanger the health and safety
            of additional patients and be contrary to the public interest.” 86
            Fed. Reg. at 61,584. An examination of the regulation leads me to
            conclude, however, that the State of Florida has a strong likelihood
            of success on the issue that CMS violated the APA by bypassing the
            notice-and-comment requirements. See In re Gateway Radiology
            Consultants, P.A., 983 F.3d 1239, 1263 (11th Cir. 2020) (“[W]e are
            not a rubber stamp [on agency action]—‘courts retain a role, and
            an important one, in ensuring that agencies have engaged in rea-
            soned decisionmaking.’” (quoting Judulang v. Holder, 565 U.S. 42,
            53 (2011))).
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                   While the good cause exception is not exclusively confined
            to emergency situations, CMS must “show that there is good cause
            to believe that delay would do real harm.” Dean, 604 F.3d at 1281.
            In the mandate, CMS explained that “[t]he data showing the vital
            importance of vaccination indicate[s] . . . that we cannot delay tak-
            ing this action in order to protect the health and safety of millions
            of people receiving critical health care services, the workers provid-
            ing care, and our fellow citizens living and working in communities
            across the nation.” 86 Fed. Reg. at 61583. But an agency cannot
            create urgency by its own delay; indeed, such delay demonstrates
            a lack of urgency. See Nat. Res. Def. Council v. Nat’l Highway
            Traffic Safety Admin., 894 F.3d 95, 114–15 (2d Cir. 2018) (“Good
            cause cannot arise as a result of the agency’s own delay, because
            ‘[o]therwise, an agency unwilling to provide notice or an oppor-
            tunity to comment could simply wait . . . , then raise up the “good
            cause” banner and promulgate rules without following APA proce-
            dures.’” (quoting Council of S. Mountains, Inc. v. Donovan, 653
            F.2d 573, 581 (D.C. Cir. 1981))); United States v. Brewer, 766 F.3d
            884, 890 (8th Cir. 2014) (“[T]he Attorney General’s stated concern
            for public safety further is undermined by his own seven-month
            delay in promulgating the Interim Rule.”).
                   The mandate was announced two months before it was is-
            sued by CMS, and the mandate itself does not take effect until one
            month after the issuance date. Moreover, vaccines have been avail-
            able to healthcare workers for nearly a year before the issuance of
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            the mandate, 5 and the Delta variant has been spreading in the
            United States for months, yet CMS took no action. Additionally,
            in the explanation of the mandate, CMS itself concedes that it could
            have acted earlier—almost a year earlier—but chose not to. See 86
            Fed. Reg. at 61,583 (noting CMS could have mandated vaccines ap-
            proved for Emergency Use Authorization, but that “CMS initially
            chose, among other actions, to encourage rather than mandate vac-
            cination”). And what’s more, CMS has previously issued five in-
            terim final rules “to help contain the spread of [COVID-19]” since
            its onset—none of which included a vaccine mandate. Id. at 61,561.
            These facts alone cast significant doubt on the agency’s claim of an
            increased urgency justifying abandoning the notice and comment
            requirement. Indeed, CMS gave itself more time to issue the man-
            date after the President announced it was coming than it gave par-
            ticipating facilities to meet its terms. CMS’s own regulation estab-
            lishes a lack of urgency on its part, either demonstrating that the
            situation is not so dire as it claims, or that it created the urgency by
            its own delay. Finally, as the agency concedes, “newly reported
            COVID-19 cases, hospitalizations, and deaths have begun to trend
            downward at a national level.” Id. at 61,584. This is encouraging
            news and, of course, it may change, but there is no way to reconcile



            5
             The Food and Drug Administration authorized two vaccines under Emer-
            gency Use Authorization in December 2020. 86 Fed. Reg. at 61,584. Accord-
            ing to CMS, the agency could have imposed a vaccine mandate for vaccines
            authorized for Emergency Use Authorization. Id. at 61,583.
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            this reported decrease in cases, hospitalizations, and deaths with
            what CMS suggests is an increased urgency that would satisfy the
            “good cause” necessary to dispense with notice and opportunity for
            comment.
                    I turn now to the agency’s other asserted justifications for
            good cause. Although CMS notes that “the intensity of the upcom-
            ing 2021-2022 influenza season cannot be predicted,” CMS none-
            theless cites the possibility of a more severe flu season as justifica-
            tion for good cause. Id. The idea is that COVID-19 vaccinations
            will help “decreas[e] stress on the U.S. health care system during
            ongoing circulation of influenza.” Id. We have yet to hold that
            future harm can justify good cause, but surely meeting the excep-
            tion would require a showing of more than the mere possibility of
            such harm. Cf. Brewer, 766 F.3d at 890 (“Although the risk of fu-
            ture harm may, under some circumstances, justify a finding of
            good cause, that risk must be more substantial than a mere possi-
            bility.”).
                   CMS also claims that proceeding through notice and com-
            ment is contrary to the public interest. 86 Fed. Reg at 61,584 (claim-
            ing “a further delay in imposing a vaccine mandate would endan-
            ger the health and safety of additional patients and be contrary to
            the public interest”). But that misunderstands the statutory crite-
            rion. The question is not whether delaying the rule to provide no-
            tice and comment would be contrary to the public interest, “but
            whether providing notice and comment would be contrary to the
            public interest.” Mack Trucks, 682 F.3d at 95. In other words,
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            notice and comment is contrary to the public interest if its use
            would actually harm the public interest. See id. at 94–95. “It is
            appropriately invoked when the timing and disclosure require-
            ments of the usual procedures would defeat the purpose of the pro-
            posal—if, for example, ‘announcement of a proposed rule would
            enable the sort of financial manipulation the rule sought to pre-
            vent.’” Id. at 95 (quoting Util. Solid Waste Activities Grp., 236 F.3d
            at 755).
                   The burden is on the agency to establish that notice and
            comment need not be provided. See Action on Smoking & Health
            v. Civil Aeronautics Bd., 713 F.2d 795, 801 n.6 (D.C. Cir. 1983). Not
            only does CMS fail to argue that providing notice and comment on
            this matter would be contrary to the public interest, but the fact
            that the mandate is unprecedented, controversial, and health-re-
            lated weighs strongly in favor of providing notice and comment.
            “The more expansive the regulatory reach of [agency] rules, of
            course, the greater the necessity for public comment.” Am. Fed’n
            of Gov’t Emps., AFL-CIO v. Block, 655 F.2d 1153, 1156 (D.C. Cir.
            1981). And “[e]specially in the context of health risks, notice and
            comment procedures assure the dialogue necessary to the creation
            of reasonable rules.” Nat’l Ass’n of Farmworkers Orgs. v. Marshall,
            628 F.2d 604, 621 (D.C. Cir. 1980). In a recent order enjoining
            CMS’s vaccine mandate, the Eastern District of Missouri aptly
            pointed out that requiring hesitant individuals to get vaccinated—
            without giving them an opportunity to be heard—undermines the
            purpose of the APA’s procedural safeguards and exacerbates
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            vaccine hesitancy. Missouri v. Biden, No. 4:21-cv-01329-MTS, 2021
            WL 5564501, at *6–7 (E.D. Mo. Nov. 29, 2021).
                    Perhaps the overarching issue is that we are two years into
            a global pandemic, with multiple, widely available vaccines and
            treatments that are only getting better. 86 Fed. Reg. at 61,612. At
            this point, and under these circumstances, COVID-19, in and of it-
            self, cannot constitute good cause to avoid notice and comment
            required by the APA. See BST Holdings, 17 F.4th at 611–12 (“The
            Mandate’s stated impetus—a purported ‘emergency’ that the en-
            tire globe has now endured for nearly two years, and which [the
            agency] itself spent nearly two months responding to—is unavail-
            ing . . . .” (footnotes omitted)); see also Does 1-3 v. Mills, No.
            21A90, 2021 WL 5027177, at *3 (U.S. Oct. 29, 2021) (Gorsuch, J.,
            dissenting) (noting that COVID-19 “cannot qualify as [a compelling
            interest] forever” and that “civil liberties face grave risks when gov-
            ernments proclaim indefinite states of emergency”). To allow
            COVID-19 to constitute good cause now would be to effectively
            repeal notice and comment requirements for the duration of the
            pandemic.
                   For the foregoing reasons, the State of Florida has shown a
            substantial likelihood of success on the merits as to its claim that
            CMS improperly invoked the good cause exception of 5 U.S.C.
            § 533(b)(B) to waive notice and comment procedures.
                  3. The Vaccination Mandate is Arbitrary and Capricious
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                     Agencies are required to engage in reasoned decisionmak-
            ing. Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374
            (1998). The APA directs reviewing courts to “hold unlawful and
            set aside agency action, findings, and conclusions found to
            be . . . arbitrary [and] capricious.” 5 U.S.C. § 706(2)(A). Judicial re-
            view under this standard is “exceedingly deferential,” but we must
            “ensure that the agency came to a rational conclusion.” Sierra Club
            v. Van Antwerp, 526 F.3d 1353, 1360 (11th Cir. 2008) (quoting Fund
            for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir. 1996)). And
            while the majority claims the State “essentially seeks to substitute
            its views on epidemiology for the Secretary’s judgment about the
            best way to protect the public from infection,” Maj. Op. at 38, the
            majority fails to analyze whether CMS’s conclusions rationally fol-
            low from the evidence the agency purports to rely on. What the
            State of Florida actually argues is that the mandate is arbitrary and
            capricious because, among other reasons, CMS failed to rationally
            connect its evidence to its decision and CMS did not meaningfully
            consider alternatives to the vaccination mandate. As discussed be-
            low, the State of Florida has shown a substantial likelihood of suc-
            cess on the merits as to its claim that the mandate is arbitrary and
            capricious and therefore unlawful.
                  i.   Rational Connection Between Evidence and CMS’s De-
                                   cision to Issue the Mandate.
                  To survive arbitrary and capricious review, “the agency
            must examine the relevant data and articulate a satisfactory expla-
            nation for its action, including a ‘rational connection between the
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            facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n of
            U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)
            (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168
            (1962)). A court will find a rule arbitrary and capricious if the
            agency’s explanation “runs counter to the evidence before the
            agency, or is so implausible that it could not be ascribed to a differ-
            ence in view or the product of agency expertise.” Id.
                     Noting its lack of comprehensive data on how vaccination
            status impacts the spread of COVID-19 in most covered healthcare
            facilities, CMS “extrapolated” the data from its long-term care fa-
            cilities. 86 Fed. Reg. at 61,585. The only justification offered by the
            agency for extrapolation, instead of gathering data, is that “[a]cute
            and [long-term care] facilities engage many, if not all, of the same
            health care professionals and support services of other provider and
            supplier types.” Id. But residents of long-term care facilities, i.e.,
            nursing homes, are among the most vulnerable to COVID-19. As
            noted by CMS, they “make up less than 1 percent of the U.S. pop-
            ulation” yet “accounted for 35 percent of all COVID-19 deaths”
            during the first year of the pandemic, and of the total COVID-19
            deaths through September 10, 2021, 30 percent are estimated to
            have died during or after staying at such facilities. Id. at 61,566,
            61,601. While such evidence may support a vaccine mandate in
            long term care facilities, data from these facilities with their con-
            cededly unique status cannot reasonably be “extrapolated” to oth-
            ers. And CMS presents no similar evidence for imposing the vac-
            cine mandate on either the other fourteen kinds of covered
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            facilities or the broad category of covered staff at these facilities.
            Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (“[A]n
            agency must give adequate reasons for its decisions.”).
                   CMS also suffers a lack of data regarding vaccination status
            and transmissibility. The mandate was enacted, in part, to mini-
            mize “[t]he threats that unvaccinated staff pose to patients” by
            transmission. 86 Fed. Reg. at 61,558. The mandate, however, con-
            flates data regarding disease severity with disease transmission.
            CMS notes that the vaccines are “safe and highly effective at pro-
            tecting vaccinated people against symptomatic and severe COVID-
            19,” id. at 61,560, but concedes that “the effectiveness of the vac-
            cine to prevent disease transmission by those vaccinated [is] not
            currently known,” id. at 61,615. Because CMS admits it does not
            have data demonstrating the vaccine is effective in preventing
            transmission, the mandate cannot be justified on this basis.
                    “We may not supply a reasoned basis for the agency’s action
            that the agency itself has not given.” State Farm, 463 U.S. at 43
            (quoting SEC v. Chenery Corp., 332 U.S. 194, 196, (1947)). For
            these reasons, I believe that the State of Florida is substantially
            likely to succeed on the merits of its argument on appeal that CMS
            did not make a “rational connection between the facts found and
            the choice made” and that, thus, the mandate is unlawful as it is
            arbitrary and capricious. Id.; see also Camp v. Pitts, 411 U.S. 138,
            143 (1973) (“If [a] finding is not sustainable on the administrative
            record made, then the [agency’s] decision must be vacated and the
            matter remanded . . . for further consideration.”).
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                   ii.   CMS’s Consideration of Alternatives to Vaccination
                                            Mandates.
                    CMS considered and rejected two alternatives to a vaccine
            manadate: (1) regular COVID-19 testing, and (2) natural immunity
            resulting from a previous COVID-19 infection. Regarding testing
            as an alternative, CMS dismissed this less restrictive alternative in
            a single sentence: “We have reviewed scientific evidence on testing
            and found that vaccination is a more effective infection control
            measure.” 86 Fed. Reg. at 61,614. But the “scientific evidence” re-
            lied on by the agency, however, was not provided. Although we
            do not require an agency to consider all policy alternatives in reach-
            ing a decision, without knowing what data the agency relied on,
            we cannot say the agency has provided “a satisfactory explanation
            for its action” or that “the decision was based on a consideration of
            the relevant factors [or] whether there has been a clear error of
            judgment.” State Farm, 463 U.S. at 43, 51 (quoting Bowman
            Transp. Inc. v. Ark.-Best Freight Sys., 419 U.S. 281, 285 (1974)).
                   Turning to natural immunity, CMS justifies rejecting this as
            an alternative to the vaccine mandate because “[t]here remain
            many uncertainties about as to [sic] the strength and length of this
            immunity compared to people who are vaccinated.” 86 Fed. Reg.
            at 61,614. But the agency contradicts itself on this point twice. As
            to the strength of natural immunity, CMS notes that both people
            who receive a vaccine and those that recover from infection “re-
            duce the risk to both health care staff and patients substantially,
            likely by about 20 million persons a month who are no longer
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            sources of future infections.” Id. at 61,604 (emphasis added). As to
            longevity of protection, the agency concedes that the data regard-
            ing the vaccines is equally uncertain. Id. at 61,614 (“[T]he duration
            of vaccine effectiveness in preventing COVID-19, reducing disease
            severity, [and] reducing the risk of death . . . are not currently
            known.”). These contradictions are strong indications that the
            agency’s decision was arbitrary and capricious. State Farm, 463
            U.S. at 43 (stating agency action arbitrary and capricious if the
            agency’s explanation “runs counter to the evidence”). Therefore,
            the State of Florida is substantially likely to succeed on the merits
            of this claim on appeal.
                    4. The Constitutionality of CMS’s Vaccine Mandate
                   In addition to the issues arising under the major questions
            doctrine and the APA, there are significant and serious questions
            regarding the constitutionality of CMS’s vaccine mandate that
            make it substantially likely that the State of Florida will prevail on
            the merits of its appeal, or at least counsels against adopting CMS’s
            broad reading of 42 U.S.C. §§ 1302 and 1395hh and against denying
            the State an injunction pending appeal.
                   “Our precedents require Congress to enact exceed-
            ingly clear language if it wishes to significantly alter the balance be-
            tween federal and state power.” U.S. Forest Serv. v. Cowpasture
            River Pres. Ass’n, 140 S. Ct. 1837, 1849–50 (2020). “Absent a clear
            statement of th[ose] purpose[s], we will not presume Congress
            to have authorized such a stark intrusion into traditional state au-
            thority.” Bond v. United States, 572 U.S. 844, 866 (2014).
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                   The Tenth Amendment to the United States Constitution
            provides: “The powers not delegated to the United States by the
            Constitution, nor prohibited by it to the States, are reserved to the
            States respectively, or to the people.” U.S. Const. amend. X. One
            such power is the States’ police power, which “is defined as the au-
            thority to provide for the public health, safety, and morals” of the
            States’ populaces. Barnes v. Glen Theatre, Inc., 501 U.S. 560, 569
            (1991); see also Gibbons v. Ogden, 22 U.S. 1, 203 (1824) (noting that
            “health laws of every description” constitute “a portion of that im-
            mense mass of legislation, which embraces every thing within the
            territory of a State, not surrendered to the general government: all
            which can be most advantageously exercised by the States them-
            selves”). Compulsory vaccination mandates have long been under-
            stood to be part of the States’ police power. See Zucht v. King, 260
            U.S. 174, 176 (1922) (“Long before this suit was instituted, Jacobson
            v. Massachusetts . . . had settled that it is within the police power
            of a state to provide for compulsory vaccination.”); Jacobson, 197
            U.S. at 35 (upholding a smallpox vaccination requirement adopted
            by the city of Cambridge, Massachusetts, based on Massachusetts’s
            police power). The mandate, thus, is a federal foray into an area
            historically understood as a core power of the States and signifi-
            cantly alters the balance of power between them and the federal
            government. I find no such clear statement from Congress in any
            of the statutory sections relied on by CMS to justify this intrusion
            by a federal agency into the police power traditionally reserved to
            the States.
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                    Moreover, there is a significant question regarding Con-
            gress’s power to mandate vaccinations in the first place. Currently,
            “no existing federal law expressly imposes vaccination require-
            ments on the general population.” Wen W. Shen, Cong. Rsch.
            Serv., R46745, State and Federal Authority to Mandate COVID-19
            Vaccination 5 (Apr. 2, 2021). And “sometimes ‘the most telling in-
            dication of [a] severe constitutional problem . . . is the lack of his-
            torical precedent’ for Congress’s action.” Nat’l Fed’n of Indep. Bus.
            v. Sebelius, 567 U.S. 519, 549 (2012) (quoting Free Enter. Fund v.
            Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 505 (2010)).
                    The two likeliest sources of congressional power here would
            be the Commerce and the Spending Clauses. U.S. Const. art. I, §
            8, cl. 3 (Commerce Clause); U.S. Const. art. § 8, cl. 1 (Spending
            Clause). It seems unlikely that the Commerce Clause provides the
            answer for CMS. See BST Holdings, 17 F.4th at 617 (“A person’s
            choice to remain unvaccinated and forgo regular testing is noneco-
            nomic inactivity. . . . The Commerce Clause power may be expan-
            sive, but it does not grant Congress the power to regulate noneco-
            nomic inactivity traditionally within the States’ police power.); see
            also United States v. Lopez, 514 U.S. 549, 584 (Thomas, J., concur-
            ring) (“[W]e always have rejected readings of the Commerce
            Clause and the scope of federal power that would permit Congress
            to exercise a police power; our cases are quite clear that there are
            real limits to federal power.”); United States v. Morrison, 529 U.S.
            598, 618 n.8 (2000) (“With its careful enumeration of federal pow-
            ers and explicit statement that all powers not granted to the Federal
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            Government are reserved, the Constitution cannot realistically be
            interpreted as granting the Federal Government an unlimited li-
            cense to regulate.”). As Chief Justice Roberts noted in Sebelius:
                  People, for reasons of their own, often fail to do
                  things that would be good for them or good for soci-
                  ety. Those failures—joined with the similar failures
                  of others—can readily have a substantial effect on in-
                  terstate commerce. Under the Government’s logic,
                  that authorizes Congress to use its commerce power
                  to compel citizens to act as the Government would
                  have them act.
                  That is not the country the Framers of our Constitu-
                  tion envisioned. James Madison explained that the
                  Commerce Clause was “an addition which few op-
                  pose and from which no apprehensions are enter-
                  tained.” The Federalist No. 45, at 293. While Con-
                  gress’s authority under the Commerce Clause has of
                  course expanded with the growth of the national
                  economy, our cases have “always recognized that the
                  power to regulate commerce, though broad indeed,
                  has limits.” Maryland v. Wirtz, 392 U.S. 183, 196
                  (1968).
            567 U.S. at 554.
                    But whether or not Congress, in the abstract, has the power
            to mandate vaccinations under the Commerce Clause, CMS lacks
            such power on its own. As noted by the Supreme Court, “[w]here
            an administrative interpretation of a statute invokes the outer lim-
            its of Congress’ power, we expect a clear indication that Congress
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            intended that result.” Solid Waste Agency of N. Cook Cnty. v. U.S.
            Army Corps of Eng’rs, 531 U.S. 159, 172 (2001). The need for such
            an indication is “heightened where the administrative interpreta-
            tion alters the federal-state framework by permitting federal en-
            croachment upon a traditional state power.” Id. at 172; see also
            United States v. Bass, 404 U.S. 336, 349 (1971) (“[U]nless Congress
            conveys its purpose clearly, it will not be deemed to have signifi-
            cantly changed the federal-state balance.”) Congress has not given
            such an indication here, which is enough in this case for me to con-
            clude that the State of Florida is substantially likely to succeed on
            the merits of its claims on appeal.
                    And while Congress may have the ability to condition fed-
            eral funds on a vaccination requirement under the Spending
            Clause, there, too, Congress must give a clear indication of its in-
            tent. Indeed, “if Congress intends to impose a condition on the
            grant of federal moneys [under its Spending Clause power], it must
            do so unambiguously.” Pennhurst State Sch. & Hosp. v. Halder-
            man, 451 U.S. 1, 17 (1981). When looking at the statutes in ques-
            tion, I cannot conclude that Congress unambiguously conditioned
            Medicare and Medicaid funding on the requirement that all
            healthcare workers, employees, trainees, students, volunteers, and
            third-party contractors at covered facilities are vaccinated.
                  To be sure, the Medicare and Medicaid statutes discuss, in
            general and generic language, the health and safety of individuals
            who use the services of certain healthcare institutions. See, e.g., 42
            U.S.C. § 1395d(a); id. § 1396r(d)(4)(B)). And, in looking for some
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            statutory authority for the mandate, CMS and the majority neces-
            sarily relies on that language. But, as the State of Florida notes, the
            statutes also contain other provisions like 42 U.S.C. § 1395, which
            states:
                   Nothing in this subchapter shall be construed to au-
                   thorize any Federal officer or employee to exercise
                   any supervision or control over the practice of medi-
                   cine or the manner in which medical services are pro-
                   vided, or over the selection, tenure, or compensation
                   of any officer or employee of any institution, agency,
                   or person providing health services; or to exercise any
                   supervision or control over the administration or op-
                   eration of any such institution, agency, or person.
                    Imposing a vaccination requirement with its concomitant
            penalties that include withholding funding from facilities that
            choose to employ or contract with nonvaccinated individuals cer-
            tainly seems to fall within the plain meaning of the words “super-
            vision or control” “over the selection [or] tenure … of any officer
            or employee,” or “over the administration or operation” of a cov-
            ered facility. As with the Commerce Clause, the lack of any clear
            indication by Congress conditioning receipt of Medicare and Med-
            icaid funding on vaccination is sufficient for me to conclude that
            the State of Florida is substantially likely to succeed on the merits
            of its claims on appeal.
                                            ****
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                   Accordingly, for the reasons discussed above, the State of
            Florida has shown a substantial likelihood that it will prevail on the
            merits of its appeal. This fact weighs heavily in favor of granting
            the State’s motion to enjoin the mandate pending judicial review.
            I now turn to the remaining factors.
                                   B. Irreparable Injury
                    To establish entitlement to an injunction pending appeal,
            the State must also demonstrate that there is a substantial likeli-
            hood it will suffer irreparable harm unless the injunction is granted.
            See Touchston, 234 F.3d at 1132; Nken, 556 U.S. at 426. “An injury
            is ‘irreparable’ only if it cannot be undone through monetary rem-
            edies.” Barrett v. Walker Cnty. Sch. Dist., 872 F.3d 1209, 1229 (11th
            Cir. 2017) (quoting Deerfield Med. Ctr. v. City of Deerfield Beach,
            661 F.2d 328, 338 (5th Cir. Unit B 1981)).
                   The State advances several arguments that it has and will
            suffer several irreparable harms without an injunction pending ap-
            peal to prevent the mandate’s implementation. First, the State con-
            tends that it will be unable to enforce the laws passed by the Florida
            Legislature prohibiting employers from implementing vaccine
            mandates on their workforces. See Fla. Stat. §§ 308.00317, 112.0441
            (2021). As the Supreme Court has noted, a state’s “inability to en-
            force its duly enacted plans clearly inflicts irreparable harm on the
            State.” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018); see also
            Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in
            chambers) (explaining that when a state is enjoined “from effectu-
            ating statutes enacted by representatives of its people, it suffers a
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            form of irreparable injury” (quoting New Motor Vehicle Bd. of Cal.
            v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977))); Hand v. Scott,
            888 F.3d 1206, 1214 (11th Cir. 2018) (“[T]he State Executive Clem-
            ency Board would be harmed if it could not apply its own laws to
            grant clemency to eligible applicants now . . . .”).
                   Here, the State of Florida has demonstrated a substantial
            likelihood that its sovereign interests are likely to suffer irreparable
            harm without an injunction pending appeal. The Florida Legisla-
            ture enacted laws prohibiting employers from imposing COVID-
            19 vaccine mandates on their workforces, see Fla. Stat. §§
            308.00317, 112.0441 (2021), and those state laws apply to all facili-
            ties covered by the mandate that are located in Florida. The man-
            date “preempts inconsistent State . . . laws as applied to Medicare-
            and Medicaid-certified providers and suppliers,” 81 Fed. Reg. at
            61,568, i.e., the mandate would preempt the Florida statutes pro-
            hibiting the vaccine mandate that CMS seeks to impose.
                   While the majority concludes that this is not an irreparable
            injury because it is “black-letter law that the federal government
            does not ‘invade[]’ areas of state sovereignty ‘simply because it ex-
            ercises its authority,’” Maj. Op. at 40 (quoting Hodel v. Va. Surface
            Mining & Reclamation Ass’n, 452 U.S. 264, 291 (1981)), that argu-
            ment relies on the majority’s conclusion that the mandate was law-
            fully enacted. But as discussed above, the State of Florida has a
            substantial likelihood of success on the merits of its claims that the
            mandate is unlawful, including its preemption of state laws like the
            one enacted by Florida. Thus, absent an injunction pending appeal,
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            the State has demonstrated a substantial risk it will suffer irrepara-
            ble harm because (1) it is unable to enforce its duly enacted laws,
            and (2) its state agencies will be forced to choose between comply-
            ing with Florida law or complying with a federal rule that is likely
            unlawful. See BST Holdings, 17 F.4th at 618 (“The States, too, have
            an interest in seeing their constitutionally reserved police power
            over public health policy defended from federal overreach.”).
                    Second, the State contends that it will suffer irreparable
            harm because the mandate will deprive the State and its agencies
            of vital medical staff, exacerbating an already critical staffing short-
            age for healthcare workers. In turn, the State asserts that exacer-
            bating the healthcare staffing shortages in its state agencies will re-
            sult in serious disruptions in patient services in the form of cancel-
            lations and delays as well as an overall reduction in the quality of
            patient care provided by the agencies.
                    “[A] State has a quasi-sovereign interest in the health and
            well-being—both physical and economic—of its residents in gen-
            eral” as well as an interest in “ensuring that the State and its resi-
            dents are not excluded from the benefits that are to flow from par-
            ticipation in the federal system.” Alfred L. Snapp & Son, Inc. v.
            Puerto Rico, ex rel., Barez, 458 U.S. 592, 607–08 (1982).
                   Here, the State has provided affidavits, outlined above, from
            several officials representing its state agencies. These officials at-
            tested that the agencies they represent are already suffering from
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            healthcare staffing shortages, especially in Florida’s rural areas. 6
            These officials further attested that implementation of the mandate
            would result in further staffing shortages because employees
            would end their employment instead of complying with the vac-
            cination requirement. Most of the affiants provided estimates as to
            the number of employees the agencies expected to lose.
                   The district court found that these affidavits were specula-
            tive and conclusory, and the majority concludes that Florida failed
            to demonstrate that the district court’s holding was erroneous.
            Contrary to the conclusion of the district court and the majority,
            see Maj. Op. at 40–42, the affidavits provided by the State are not
            merely “speculative” or phrased in “conclusory” terms. Rather, in
            these affidavits, which were submitted by officials from various
            state agencies based on their professional knowledge and experi-
            ence, several of the agency officials concretely explain: (1) the ex-
            isting healthcare staffing shortages in their respective agencies; (2)



            6
              Indeed, the healthcare staffing shortages in Florida over the last several
            months have been widely publicized. See Florida Health-care Groups Warn
            of Growing Workforce Crisis, Orlando Sentinel (Nov. 1, 2021, 1:47 PM),
            https://www.orlandosentinel.com/politics/os-ne-health-care-staffing-crisis-
            florida-20211101-iluz3jbbt5ffbp7s3juqee2soe-story.html; Kirby Wilson, Flor-
            ida Will Be Short Nearly 60,000 Nurses by 2035, Report Says, Tampa Bay
            Times (Sept. 30, 2021), https://www.tampabay.com/news/florida-poli-
            tics/2021/09/30/florida-will-be-short-nearly-60000-nurses-by-2035-report-
            says/
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            how the mandate will exacerbate the staffing shortages those agen-
            cies face, as a number of employees have indicated they will leave
            employment rather than comply with the vaccination requirement
            in the mandate; and (3) how that exacerbated staffing shortage will
            result in disruptions in, and reductions to, the quality of patient
            care. For example, several affidavits provided estimates as to the
            number of employees the agencies expect to lose. And several of
            the agency officials attested that it would take at least ninety days
            to hire replacement staff, given the current labor market, and that
            the interim vacancies would cause patient care cancellation and de-
            lays and would reduce the overall quality of care the agencies’ pa-
            tients received.
                    “At the preliminary injunction stage, a district court may
            rely on affidavits and hearsay materials which would not be admis-
            sible evidence for a permanent injunction, if the evidence is ‘appro-
            priate given the character and objectives of the injunctive proceed-
            ing.’” Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982,
            985 (11th Cir. 1995) (quoting Asseo v. Pan Am. Grain Co., 805 F.2d
            23, 26 (1st Cir. 1986)). Simply put, the State has provided evidence
            in the form of affidavits showing that its state agencies will be ad-
            versely impacted by exacerbated staffing shortages if the mandate
            is implemented and how those shortages will likely affect the
            amount, timing, and quality of patient care provided by the agen-
            cies. Cf. BST Holdings, 17 F.4th at 618 (“[T]he companies seeking
            a stay in this case will also be irreparably harmed in the absence of
            a stay, whether by the business and financial effects of a lost or
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            suspended employee.”). Based on this record, the State has shown
            a substantial risk that it will suffer irreparable harm in the form of
            an exacerbated staffing shortage leading to delays in and a reduc-
            tion in the quality of patient care that its agencies provide.
                    Finally, the State asserts that it will suffer irreparable harm
            in the form of heavy compliance costs if its agencies—in particular,
            AHCA—were to implement the mandate and that these costs
            would likely be nonrecoverable even if the mandate was ultimately
            held to be invalid. Indeed, as the Fifth Circuit recently noted in
            BST Holdings, “complying with a regulation later held invalid al-
            most always produces the irreparable harm of nonrecoverable
            compliance costs.” Id. at 618 (emphasis in original) (quoting Texas
            v. EPA, 829 F.3d 405, 433 (5th Cir. 2016)); see also Thunder Basin
            Coal Co. v. Reich, 510 U.S. 200, 220–21 (1994) (Scalia, J., concurring
            in part and in the judgment). And the Fifth Circuit thus concluded
            that “compliance and monitoring costs associated with” a vaccine
            mandate constituted irreparable harm to the companies seeking a
            stay of the mandate. See BST Holdings, 17 F.4th at 618. Similarly
            here, the State has demonstrated a substantial risk of irreparable
            harm in the form of compliance costs associated with the mandate
            incurred by its agencies.
                   And the State also contends that the mandate threatens Flor-
            ida with the loss of critical federal funding from the Medicare and
            Medicaid programs to its state-run facilities. While, as the majority
            summarily notes, economic or monetary injuries are generally rep-
            arable at law and weigh against a claim of irreparable harm, see Ne.
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            Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of Jack-
            sonville, 896 F.2d 1283, 1285 (11th Cir. 1990), several of the agency
            officials attested in their affidavits that if their agencies did not com-
            ply with the mandate, the resulting loss of federal funding would
            lead to a reduction in patient care, i.e., services the agencies would
            be unable to provide and receive revenue from, or a reduction in
            staff the agencies were able to employ. As the State explains, these
            ripple effects from the lack of Medicare and Medicaid funding to its
            agencies would directly impact that care its agencies’ facilities pro-
            vide on a daily basis and that impact would not be recoverable,
            even if the mandate was held invalid and the State was able to claw
            back the withheld funding. Here again, the State of Florida has
            shown a substantial risk that it will suffer irreparable harm in the
            form of reduction in patient care at its agencies’ facilities due to a
            loss of federal funding.
                                             ****
                   Accordingly, for the reasons discussed above, the balance of
            equities weighs heavily in favor of granting the State of Florida’s
            motion and enjoining the mandate pending appeal.
                                  C. Remaining Factors
                   The final two factors for a preliminary injunction require an
            assessment of the harm to the opposing party and the weighing of
            the public interest. Nken, 556 U.S. at 435. In doing so, “courts
            ‘must balance the competing claims of injury and must consider
            the effect on each party of the granting or withholding of the
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            requested relief.’” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
            7, 24 (2008) (quoting Amoco Prod. Co. v. Gambell, 480 U.S. 531,
            542 (1987)). Where the government opposes the preliminary in-
            junction, “its interest and harm merge with the public interest.”
            Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020); accord Nken,
            556 U.S. at 435.
                   The balance of the equities in this case weighs in favor of
            granting an injunction. There is no question that the public has an
            interest in stopping the spread of COVID-19. See Ala. Ass’n of
            Realtors, 141 S. Ct. at 2490. But, as even CMS recognizes, there are
            “major uncertainties” as to “the future course of the pandemic, in-
            cluding but not limited to vaccine effectiveness in preventing
            ‘breakthrough’ disease transmission from those vaccinated, the
            long-term effectiveness of vaccination, the emergence of treatment
            options, and the potential for some new disease variant even more
            dangerous than Delta.” 7 86 Fed. Reg. at 61,612.



            7
             As to CMS’s last point, early evidence as to the Omicron variant of COVID-
            19, discovered in the weeks following the issuance of the mandate, suggests
            that it is much more transmissible that the Delta variant and potentially able
            to avoid the protection provided by the currently available COVID-19 vac-
            cines. See Michaeleen Doucleff, New Evidence Shows Omicron Likely
            Spreads Twice as Fast as Delta in South Africa, NPR (Dec. 3, 2021, 5:30 PM),
            https://www.npr.org/sections/goatsand-
            soda/2021/11/30/1059859253/why-omicron-variant-spreads-so-quickly-in-
            fectious-mutations. While the relative severity of the Omicron variant re-
            mains to be seen, the possibility that current vaccines offer diminished
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            Moreover, “our system does not permit agencies to act unlawfully
            even in pursuit of desirable ends.” Ala. Ass’n of Realtors, 141 S. Ct.
            at 2490. Indeed, there is “no public interest in the perpetuation of
            unlawful agency action.” League of Women Voters of U.S. v.
            Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). “To the contrary, there is
            substantial public interest in having governmental agencies abide
            by the federal laws that govern their existence and operations.” Id.
            Because there is a substantial likelihood that the State of Florida
            will prevail on the merits on appeal, an injunction pending appeal
            is in the public interest in order to preserve the status quo. See BTS
            Holdings, 17 F.4th at 618; see also Am. Med. Ass’n v. Weinberger,
            522 F.2d 921, 927 (7th Cir. 1975) (explaining that the public interest
            requires that courts “be permitted to utilize interim injunction re-
            lief in a manner which enables those courts to scrutinize adminis-
            trative action in an orderly and lawful manner”). Furthermore,
            maintaining the status quo would avoid exacerbating the
            healthcare staff shortages at the State’s agencies and a resulting de-
            crease in the quality of patient care. Cf. Missouri, 2021 WL
            5564501, at *14 (“[W]hile, according to CMS, the effectiveness of
            the vaccine to prevent disease transmission by those vaccinated is
            not currently known, what is known based on the evidence . . . is
            that the mandate will have a crippling effect on a significant num-
            ber of healthcare facilities in Plaintiffs’ states, . . . create a critical



            protection against it raises further questions as to whether the mandate can be
            currently viewed as in the public interest.
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            shortage of services . . . , and jeopardize the lives of numerous vul-
            nerable citizens.” (footnote omitted)). Thus, the balance of the
            harms and the public interest favor granting the State of Florida’s
            motion for an injunction pending appeal.
                                   III.   CONCLUSION
                    For the foregoing reasons, I would grant the State’s motion
            for injunction pending appeal and therefore dissent from the ma-
            jority’s denial of the motion.
